    Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 1 of 102




              THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


Consumer Financial Protection Bureau,   )
                                        )
                                        )
                   Plaintiff,           )   Civil Action No. 3:CV-17-00101
                                        )   (Hon. Robert D. Mariani)
      v.                                )
                                        )
Navient Corporation, et al.,            )
                                        )
                   Defendants.          )



STATEMENT OF UNDISPUTED MATERIAL FACTS IN SUPPORT OF
     DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
       Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 2 of 102




                                        TABLE OF CONTENTS

I.     The CFPB’s Disclosures .................................................................................. 1
II.    Navient’s Procedures Were To Provide Information About IDR To
       Borrowers ........................................................................................................2
III.   Navient Provided Information About IDR To The Borrowers
       Identified By The CFPB ..................................................................................4
       A.       Borrowers Informed About IDR, But Ineligible ................................... 4
                1.        CC ...............................................................................................4
                2.        NN ...............................................................................................8
                3.        AS..............................................................................................11
       B.       Borrowers Who Enrolled In IDR ........................................................12
                1.        FB ..............................................................................................12
                2.        UE .............................................................................................15
                3.        VH .............................................................................................17
                4.        MP .............................................................................................19
                5.        JB...............................................................................................22
                6.        AN .............................................................................................25
                7.        GJ ..............................................................................................28
       C.       Borrowers Who Avoided Or Rebuffed Efforts To Inform Them
                About IDR, Or Chose Not To Enroll ..................................................29
                1.        RD .............................................................................................29
                2.        ZB..............................................................................................34
                3.        CP ..............................................................................................38
                4.        LF ..............................................................................................41
                5.        AK .............................................................................................44
                6.        KR .............................................................................................46
IV.    Navient’s Procedures Instructed Representatives To Discuss
       Appropriate Repayment Options ...................................................................48
V.     Navient Informed Borrowers About The Need To Recertify Their IDR
       Eligibility .......................................................................................................53
       A.       Navient’s Letters Regarding IDR Renewal.........................................53

                                                            i
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 3 of 102




        B.       ED Began Requiring Servicers To Send IDR Renewal Notices
                 In 2012 .................................................................................................57
        C.       Navient Sent Borrowers Who Consented To Emails A Link To
                 The IDR Recertification Notice ..........................................................58
        D.       The Witness Identified By The CFPB Did Not Review The
                 Challenged Email ................................................................................59
        E.       The CFPB’s Expert Conducted Surveys Regarding
                 Recertification Communications .........................................................64
VI.     Navient Required Consecutive On-Time Payments For Cosigner
        Release ...........................................................................................................65
VII. Navient Processes Tens Of Millions Of Student Loan Payments And
     Tracks And Corrects Any Processing Errors.................................................68
        A.       Navient Processes Tens Of Millions Of Payments Each Year ........... 68
        B.       Navient Tracks Payment Processing Errors ........................................70
        C.       The CFPB’s Identified Borrowers Had Any Errors Corrected ........... 71
                 1.   KSC ...........................................................................................71
                 2.        NT .............................................................................................73
                 3.        SW .............................................................................................74
                 4.        TC..............................................................................................75
            5.    CH .............................................................................................76
VIII. Navient Accurately Reported The “AL” Code For Loans Assigned To
      The Government ............................................................................................77
IX. Even Though The “AL” Code Did Not Indicate Default, Navient
      Removed The Code From Borrowers’ Accounts ..........................................81
X.    Pioneer Informed Borrowers About The Benefit Of Rehabilitation ............. 84
        A.       Federal Loan Rehabilitation Provides Unique Benefits ......................86
        B.       Pioneer Trains Its Agents Regarding The Benefits Of
                 Rehabilitation ......................................................................................87
        C.       The CFPB’s Identified Calls With Borrowers About
                 Rehabilitation All Predate January 2014.............................................90
                 1.        KMC..........................................................................................91
                 2.        JS ...............................................................................................94
XI.     Navient Signed A Tolling Agreement ...........................................................96
                                                            ii
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 4 of 102




         In accordance with Local Rule 56(a)(1) and in support of the Motion for

Summary Judgment, Defendants submit the following statement of undisputed

material facts.

I.       THE CFPB’S DISCLOSURES

         1.    The Consumer Financial Protection Bureau (“CFPB”) has identified

16 borrowers who it states were harmed by enrollment in a forbearance; one

individual it states has information about efforts to recertify; five borrowers it

states experienced payment processing challenges; and two borrowers it points to

in support of its claims regarding loan rehabilitation. 1

         2.    In its supplemental disclosures, the CFPB claimed that it would seek

“damages and/or restitution” for borrowers “harmed” as a result of the conduct

alleged in Counts III and VI, and that “[t]he computation of these damages and/or

restitution will be set forth in Rule 26(a)(2) expert disclosures.” 2

         3.    No expert provided any computation of harm for Count III or

Count VI.3




1
  Ex. 1 at *27‒28, *87‒88, *126‒27 (asking the CFPB to “[i]dentify each Navient
Borrower harmed by enrollment in a forbearance, as alleged in paragraph 146 of
the Complaint, and describe the injury suffered by that Borrower”); Ex. 2 at *4,
*11‒12, *17, *21‒22.
2
    Ex. 2 at *28‒29.
3
    See Ex. 3; Ex. 4.
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 5 of 102




II.     NAVIENT’S PROCEDURES WERE TO PROVIDE INFORMATION ABOUT IDR
        TO BORROWERS

        4.    Navient Solutions, LLC, (“Navient”) contracts with the Department of

Education (“ED”), to service loans that ED owns.4

        5.    Navient’s procedures were to provide the following information about

income-driven repayment (“IDR”) to borrowers during the alleged time period:

        6.    When borrowers started repaying their loans, Navient sent a letter

describing, for example, options to “make student loan payments more

manageable,” including “[p]ayments tied to your income.” 5

        7.    For borrowers who communicated a difficulty making payments,

Navient sent a letter about the availability of IDR. For example, letters stated that

a borrower could “[c]hange your [r]epayment [p]lan” to “Income-Related Plans,”

which offered “[m]onthly payments that can change annually as your income

changes.”6




4
    20 U.S.C. § 1087f(a)(1); Ex. 5 at NAV-00000001.
5
 Ex. 6 at *1; see also, e.g., Ex. 7 at *25 (2010 letter); Ex. 8 at *14 (2011 letter);
Ex. 9 at NAV-03305437 (2012 letter); Ex. 10 at NAV-04066646 (2013 letter); Ex.
11 at NAV-02431404 (2014 letter); Ex. 12 at NAV-03860743 ‒ 0744 (2015 letter);
Ex. 13 at NAV-01575324 (2016 letter).
6
  Ex. 14 at *1 (2009 letter); see also, e.g., Ex. 15 at *1 (2010 letter),*4 (2011
letter),*7 (2012 letter); Ex. 16 at *37 (2013 letter); Ex. 17 at NAV-01970701 (2014
letter); Ex. 18 at NAV-03924031 (2015 letter); Ex. 13 at NAV-01575324 (2016
letter); Ex. 19 at NAV-02358753 (2017 letter).

                                          2
         Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 6 of 102




         8.    For borrowers who fell behind on payments, Navient sent letters

stating that “options may be available to help bring your account current,”

including “lower monthly payments provided through income-sensitive, income-

based, or income-contingent repayment plans.”7

         9.    For borrowers who expressed an interest in IDR, Navient sent a letter

stating how to apply.8

         10.   Starting in August 2012, borrowers approaching the end of a

deferment received a communication asking borrowers if they “still need help?”

and noting that the “the federal government’s [IDR] plan” is “worth checking

out!”9

         11.   Beginning in March 2013, a similar letter was sent to borrowers

approaching the end of a forbearance. As of 2013, the communication stated:

“Have you looked into the federal government’s income-driven repayment plans?



7
 Ex. 20 at NAV-00729729 (2010 letter); see also, e.g., Ex. 7 at *12 (2009 letter);
Ex. 21 at *45 (2011 letter); Ex. 22 at *22 (2012 letter),*34 (2013 letter); Ex. 23 at
NAV-04018069 (2014 letter); Ex. 24 at NAV-04318973 (2016 letter); Ex. 25 at
NAV-02357179 (2017 letter).
8
 Ex. 6 at *2 (2009 letter); see also, e.g., Ex. 26 at NAV-02555115 (2010 letter);
Ex. 27 at NAV-02136427 (2011 letter); Ex. 16 at *9 (2012 letter); Ex. 28 at *44
(2013 letter); Ex. 29 at NAV-00069979 (2014 letter); Ex. 30 at *10 (2015 letter);
Ex. 31 at *1 (2016 letter); Ex. 32 at NAV-00065147 (2017 letter).
9
 Ex. 33 at NAV-02027930 (2012 letter); see also, e.g., Ex. 34 at NAV-00626512
(2013 letter); Ex. 35 at NAV-02324032 (2014 letter); Ex. 36 at NAV-01903436
(2015 letter); Ex. 37 at NAV-02352692 (2016 letter).

                                           3
         Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 7 of 102




These repayment options can allow you to make monthly payments based on your

current income. You could even qualify for a payment of $0! That’s right, zero!

It’s worth checking out!” 10

         12.   Borrowers identified by the CFPB recalled visiting Navient’s website,

which has information about IDR displayed. 11

         13.   Immediately below language on Navient’s website cited by the

CFPB, 12 the website stated that Navient offered “standard, graduated, income-

sensitive, income-based, and extended repayment plans on federal student loans.” 13

III.     NAVIENT PROVIDED INFORMATION ABOUT IDR TO THE BORROWERS
         IDENTIFIED BY THE CFPB
         A.    Borrowers Informed About IDR, But Ineligible
               1.     CC14

         14.




10
  Ex. 38 at NAV-02294410 (2013 letter); Ex. 39 at NAV-03428822 (2014 letter);
Ex. 40 (2015 letter); Ex. 41 (2016 letter); Ex. 42 (2017 letter).
11
  See, e.g., Ex. 43 at 110:9‒113:9 (JB); Ex 44 at 97:6‒98:14 (AS); see, e.g., Ex. 45
(Navient’s website).
12
     Compl. ¶ 39.
13
     See Ex. 8 at *12 (emphasis omitted); infra ¶ 141.
14
  To preserve borrower privacy, the borrowers have been identified only by their
initials, and all personal identifying information has been redacted from
Defendants’ exhibits.

                                           4
         Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 8 of 102




         15



         15.



                         16



         16.




                                          17



         17.
                                                                       18



         18.
                              19




15
     Ex. 47 at *1; Ex. 46 at 144:22–145:12, 150:9–23 (CC).
16
     Ex. 47 at *6, *8.
17
     Id. at *9.
18
     Ex. 51 at NAV-02357301 ‒ 7302; Ex. 47 at *9; Ex. 48 at *25‒26.
19
     Ex. 46 at 26:4–28:4 (CC).

                                          5
         Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 9 of 102




         19.




                                                                             21



         20.
                                                                   22



         21.



                                                              23




                      24




                                                                              25




20
     Ex. 49 at *13 (lines 13–18); Ex. 46 at 187:19–24 (CC).
21
     Ex. 49 at *13 (line 19) through *14 (line 3); Ex. 46 at 190:3–6 (CC).
22
     Ex. 46 at 190:3–6 (CC).
23
     Ex. 49 at *19 (lines 10‒13).
24
     Ex. 49 at *19 (line 14), *20 (lines 8‒13).
25
     Id. at *24 (lines 10‒14).

                                             6
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 10 of 102




                                                              26


                                                        27
         22.

         23.
                                                    2




                                          29


                                               30




                                31


                                                              32




26
  Id. at *22 (line 4) through *25 (line 21); Ex. 46 at 200:11–201:23 (CC); see also
Ex. 47 at *11.
27
     Ex. 46 at 203:12–14 (CC).
28
     Ex. 48 at *3 (lines 8‒10).
29
     Id. at *4 (lines 14‒23); Ex. 46 at 234:13–236:14 (CC).
30
     Ex. 48 at *5 (line 8) through *8 (line 6); Ex. 46 at 234:13–236:14 (CC).
31
     Ex. 48 at *8 (lines 7‒9).
32
     Id. at *8 (lines 11‒15).

                                            7
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 11 of 102




                               33



         24.



                      34


                                                  35



         25.



        36



                2.    NN
         26.    NN spoke to Navient representatives on the phone on August 12 and

18, 2009, before his first payment was due, and on both occasions the Navient

representative checked NN’s eligibility for IDR.37




33
     Id. at *14 (line 1) through *17 (line 21).
34
     Id. at *20‒23; Ex. 46 at 260:13–264:17 (CC).
35
     Ex. 46 at 263:20–264:3 (CC).
36
   Ex. 48 at *2 (lines 11–24), *4 (line 3) through *5 (line 5); see also Ex. 50 at *2
(line 23) through *3 (line 2),*4 (lines 19‒21); Ex. 46 at 26:4–28:4, 213:10–217:6,
219:4–220:14 (CC).
37
     Ex. 53 at NAV-02967333, 7336; Ex. 52 at 67:25–69:23 (NN).

                                             8
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 12 of 102




         27.   On August 12, 2009, Navient sent NN a letter that stated, “Thank you

for your interest in an Income-Based Repayment (IBR) plan” and that included an

application form and instructions for how to apply for the plan.38

         28.   NN did not apply for IDR in 2009. 39

         29.   NN’s repayment period began in September 2009, and he requested

forbearance “rather immediately.”40

         30.   Since 2010, NN has worked at a bank, where he now provides wealth

management services. 41

         31.   His FFELP loans have “not [been] eligible for income-based

repayment programs” since 2010, because he was “a single, no-dependent

[individual] that had little debt-to-income.” 42

         32.   NN specifically remembered discussing IDR “[i]n a telephone

conversation” with Navient at some point in 2012,43 but he “simply didn’t qualify”

because of his income. 44



38
     Ex. 6 at *2–4; Ex. 52 at 66:3–67:5 (NN).
39
     Ex. 53 at NAV-02967330 ‒ 7343.
40
     Ex. 52 at 70:10‒72:16 (NN).
41
     Id. at 25:6–26:21, 31:7–32:2 (NN).
42
     Id. at 94:16–95:13 (NN).
43
     Id. at 79:10–12 (NN).
44
     Id. at 88:14–23 (NN).

                                           9
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 13 of 102




         33.   NN does not remember what repayment options were discussed on

calls with Navient representatives between 2009 and 2012,45 but he does remember

that on calls during that time, he was asked about “[h]ow much [he was] earning

and [his] family size.” 46

         34.   Navient sent NN information about IDR multiple times prior to

2012. 47 For example, in July 2009, Navient sent him a letter that described the

availability of “several repayment options that help make student loan payments

more manageable,” including “Income-Based Repayment,” which offered

payments based on “your income, your family size and total outstanding balance of

eligible loans.” 48

         35.   NN admitted at his deposition that his “situation” was “outside the

scope of the current CFPB complaint,” because the CFPB was “specifically

wanting to focus on [his] federal loan” instead of his “private student loans,” which

“were the burdensome component of [his] entire student loan equation.” 49




45
     Id. at 76:3–17 (NN).
46
     Id. at 83:9–87:6 (NN).
47
     See, e.g., id. at 59:4–18, 66:3–67:5 (NN).
48
     Ex. 6 at *1; Ex. 53 at NAV-02967332 ‒ 7333; Ex. 52 at 59:4–18 (NN).
49
     Ex. 52 at 140:8–141:24 (NN).

                                           10
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 14 of 102




               3.    AS

         36.   AS testified that she knew about IDR options “throughout the life of”

her FFELP loan because she “researched all of the options that were available” and

called Navient to discuss those options, including “call[ing] about income-based”

and the “zero payment” option,50 but she enrolled in forbearances because she “did

not qualify” for IDR options.51

         37.   At one point, AS used a tool on Navient’s website where she “input[]

various information to determine if [she] qualified for an income-driven repayment

plan” and confirmed that she was not eligible. 52

         38.   During her deposition, AS would not answer questions about either

her income or her husband’s income during the alleged time period.53

         39.   Navient sent AS information about IDR on multiple occasions. For

example, in July 2010, Navient sent AS a letter containing “a list of options for

which you might qualify on your federal student loan(s),” including “Income-

Based Repayment,” which would provide “a reduction in your monthly payment




50
  Ex. 44 at 97:4–98:10 (AS); see also id. at 116:21–24 (AS) (“I know that I
inquired about [income-drive repayment options], both over the phone over the
years and on the website”).
51
     Id. at 99:12–13, 125:22–128:10 (AS).
52
     Id. at 116:21–117:10 (AS).
53
     Id. at 62:22–63:5, 73:17–21, 75:21–78:19 (AS).

                                            11
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 15 of 102




based on a federal formula that considers your income and family size.”54 AS

enrolled in a forbearance after receiving that information. 55

         B.    Borrowers Who Enrolled In IDR

               1.    FB
         40.   Navient began servicing FB’s loans in August 2011, when they were

transferred from another servicer. 56

         41.   On August 31, 2011, a Navient representative checked whether FB

was eligible for IDR during a phone call. 57

         42.   Following the call, Navient sent FB information about “Income-

Related Plans (Income-Based and Income Sensitive) – Monthly payments that can

change annually as your income changes.”58

         43.   FB did not apply for IDR at that time. 59

         44.   FB enrolled in a forbearance in October 2011.60




54
  Ex. 15 at *1–3; *4‒7; Ex. 44 at 126:6–127:14, 136:4–137:7, 144:14–145:10
(AS).
55
     Ex. 44 at 133:4‒23 (AS).
56
     Ex. 16 at *1; Ex. 54 at 35:3–36:12 (FB).
57
     Ex. 55 at NAV-02359386.
58
     Ex. 16 at *3‒4; Ex. 54 at 36:22–39:16 (FB).
59
     Ex. 55 at NAV-02359386 ‒ 9387.
60
     Ex. 16 at *5.

                                           12
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 16 of 102




         45.   Before that forbearance period ended, in August 2012, FB called

Navient, and the representative checked whether FB was eligible for IDR. 61

         46.   Following that phone call, Navient sent FB a letter stating, “Thanks

for your interest in an Income-Based Repayment (IBR) Plan,” along with an

application and instructions on how to apply. 62

         47.   FB applied for an economic hardship deferment, 63 which was denied

because she did not meet the federal requirements, 64 and she requested a

forbearance online without speaking to a Navient representative.65

         48.   Between August 2011 and August 2013, Navient sent her information

about IDR at least nine times.66

         49.   FB admitted in her deposition that such letters “informed [her] of

income-related repayment plans.”67

         50.   On March 29, 2013, FB discussed IDR on the phone with a Navient

representative, who informed FB that her “remaining balance will be forgiven”



61
     Ex. 55 at NAV-02359390.
62
     Ex. 16 at *8‒10; Ex. 54 at 44:10–47:3 (FB).
63
     Ex. 16 at *17‒22.
64
     Id. at *24; Ex. 54 at 53:2–14 (FB).
65
     Ex. 16 at *26; Ex. 55 at NAV-02359391 ‒ 9392.
66
     Ex. 16 at *3–4, *8, *16, *23, *25, *37–39.
67
     Ex. 54 at 41:16–20 (FB).

                                           13
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 17 of 102




after “25 years of being in an income-based repayment [plan].”68 The

representative stated that FB could go to studentloans.gov to apply for the plan.69

         51.    On June 14, 2013, and July 26, 2013, FB spoke to Navient

representatives, who did not discuss IDR during the calls, and FB did not enroll in

a forbearance on either call. 70

         52.    FB admitted in her deposition that she was “informed about income-

based repayment options prior to . . . [the] two calls” that took place on June 14,

2013 and July 26, 2013.71

         53.    A Navient representative checked FB’s eligibility for IDR during a

phone call on August 20, 2013.72

         54.    Navient sent FB an IDR application the same day. 73

         55.    In August 2013, FB applied for IDR, and she was approved in

September 2013. 74




68
     Ex. 16 at *33 (lines 3–5); Ex. 54 at 61:6–25 (FB).
69
     Ex. 16 at *34 (lines 15–17); Ex. 55 at NAV-02359393 ‒ 9394.
70
     Ex. 54 at 111:12–113:15, 114:8–115:22 (FB).
71
     Id. at 128:11–14 (FB).
72
     Ex. 55 at NAV-02359395.
73
     Id.; Ex. 16 at *40.
74
     Ex. 16 at *42, *47; Ex. 54 at 65:8–66:11, 69:9–70:12 (FB).

                                           14
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 18 of 102




         56.    The same month that FB enrolled in IDR, FB told a Navient

representative that Navient had “tried to do that IBR, in which the payment is still

not low enough.”75

         57.    FB requested forbearances while enrolled in IDR. 76

                2.    UE

         58.    Although UE received forbearances from her prior loan servicer, 77

UE regularly made payments for over two years after Navient started servicing her

loans in September 2011.78

         59.    On October 23, 2013, a Navient representative told UE about “an

income-based repayment plan where we can lower the monthly payment amount

based [on] your income.” 79 UE asked the representative to “send [her] the

paperwork.”80

         60.    Navient mailed her an IDR application that same day.81




75
     Ex. 56 at *3 (lines 23–24); Ex. 54 at 71:2–73:8 (FB).
76
   Ex. 56 at *2 (line 16) through *3 (line 14), *9, *10, *17 (line 7) through *22
(line 2); Ex. 54 at 71:2–73:14; 79:17–81:25, 82:10–83:16, 86:2–93:22 (FB).
77
     Ex. 58 at *3; Ex. 57 at 41:5–9 (UE).
78
  Ex. 58 at *4; Ex. 59 at NAV-02356613 ‒ 6655; Ex. 57 at 48:5–9, 49:22–24
(UE).
79
     Ex. 58 at *12 (line 19) through *13 (line 4).
80
     Id. at *14 (lines 15–18).
81
     Id. at *17–23; Ex. 57 at 55:14–56:13 (UE).

                                            15
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 19 of 102




         61.   UE acknowledged in her deposition that by October 23, 2013,

“[Navient] had informed [her] about income-based repayment plans.”82

         62.   UE did not return the application and continued to make regular

payments on her student loans.83

         63.   On December 31, 2015, an individual working for a third party

contacted Navient, claimed to be UE, and provided UE’s personal information,

including her birthdate. On that call, the Navient representative described the IDR

application process and processed a two-month forbearance to allow time to

apply. 84

         64.   Navient received an IDR application for UE dated December 31,

2015. 85

         65.   On January 20, 2016, Navient sent UE a letter stating that it could not

process her IDR application because it did not include the required income

documentation. 86




82
     Ex. 57 at 55:5–9 (UE).
83
     Id. at 58:2–15 (UE).
84
     Ex. 58 at *25 (line 1) through *29 (line 17); Ex. 57 at 58:16–63:24 (UE).
85
     Ex. 58 at *32–37; Ex. 57 at 64:15–67:13 (UE).
86
     Ex. 58 at *38; Ex. 57 at 71:3–72:7 (UE).

                                           16
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 20 of 102




         66.   UE called Navient on April 15, 2016 and confirmed that she had

previously applied for IDR “through a third-party company” that “took [her]

money.”87 On that call, the Navient representative stated that UE could apply for

IDR directly at studentloans.gov. The representative processed a two-month

forbearance to “give [UE] some time to get that information over.” 88

         67.   UE applied for IDR and was approved on August 4, 2016. 89

         68.   Although UE had complained to the CFPB about forbearances she

received from Navient, she admitted in her deposition that she may have confused

Navient with her prior servicer. 90

               3.     VH
         69.   From 2009 through 2011, Navient on at least four occasions sent VH

information about Income-Based Repayment, under which she could potentially

qualify for a reduction in her monthly payment based on “a federal formula that

considers your income and your family size.” 91




87
     Ex. 60 at *3 (line 22) through *4 (line 2); Ex. 57 at 72:25–74:6 (UE).
88
     Ex. 60 at *4 (line 11) through *5 (line 13).
89
     Ex. 60 at *15; Ex. 57 at 81:6–8, 82:11–25 (UE).
90
     Ex. 60 at *17; Ex. 57 at 40:11–41:11, 84:8–88:21 (UE).
91
     See Ex. 14 at *1, *4, *7, *10, *13; Ex. 61 at 85:24–89:2 (VH).

                                            17
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 21 of 102




         70.   VH confirmed at her deposition that such letters “inform[ed]” her and

her husband about “repayment options based on income.” 92

         71.   VH “did not remember” whether “Navient discussed [IDR] options”

during phone calls between 2009 and 2011, but she remembers calls during that

period during which Navient representatives asked her “questions about household

size and income . . . to determine what repayment options might work for [her].”93

         72.   During a phone call in November 2012, a Navient representative

checked whether VH and her husband were eligible for an IDR plan.94 The same

day, Navient sent VH and her husband an IDR application.95 VH and her husband

enrolled in IDR in December 2012.96

         73.   The couple continued to request forbearance while enrolled in IDR. 97

         74.   In April 2013, the couple requested to be removed from IDR, and then

requested a forbearance, but did not qualify because they had “already used the

maximum time allowed for a forbearance.”98



92
     Ex. 61 at 93:19–94:18 (VH).
93
     Id. at. 22:5‒15, 187:5‒12 (VH).
94
     Ex. 62 at NAV-02966092.
95
     Id. at NAV-02966093.
96
     Ex. 14 at *14–15; Ex. 61 at 118:6–24 (VH).
97
     Ex. 62 at NAV-02966100; Ex. 61 at 119:1–120:6 (VH).
98
     Ex. 14 at *16–17; Ex. 61 at 134:7–137:19 (VH).

                                          18
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 22 of 102




         75.    The couple reenrolled in IDR on June 28, 2014, but by February 25,

2016, their “loan [was] severely delinquent,” with payments “120 days past due.” 99

                4.     MP

         76.



               100



         77.




                               .101

         78.

                                                                      .102
                                                      103
         79.




99
     Ex. 14 at *18; Ex. 61 at 137:20–139:11, 141:18–145:21 (VH).
100
   Ex. 28 at *1–3; Ex. 63 at 29:8–31:12 (MP). MP brought documents to his
deposition, many of which were marked as exhibits and therefore lack Bates
numbers. See Ex. 63 at 39:4–39:12 (MP).
101
      Ex. 28 at *16–19; Ex. 63 at 47:20–49:25 (MP).
102
      Ex. 28 at *20.
103
      Ex. 63 at 49:23–50:4 (MP).

                                          19
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 23 of 102




         80.



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         81.




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         82.
                        106



         83.
                                                              107



         84.



                                                                    108




104
      Ex. 28 at *23, *37; Ex. 64 at NAV-02358928 ‒ 8929.
105
      Ex. 28 at *34.
106
      Ex. 28 at *10, *34, *40, *42, *43, *62; Ex. 63 at 61:16–63:9 (MP).
107
      Ex. 28 at *10, *34, *40; Ex. 63 at 64:20–65:10 (MP).
108
      Ex. 63 at 93:14–99:10 (MP); Ex. 28 at *25‒33, *41.

                                          20
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 24 of 102




         85.
                                                                      109



         86.   The tool estimated monthly payment based on income, family size,

loan type, and outstanding federal student loan debt and included an option to

automatically send an IDR application at the borrower’s request.110
                                                   111
         87.

         88.




                                           112




               113



         89.



                                             114




109
      Ex. 64 at NAV-02358932.
110
      Ex. 65 at NAV-01771835 ‒ 1837.
111
      Ex. 64 at NAV-02358932 ‒ 8933; Ex. 63 at 65:19–68:22 (MP).
112
      Ex. 63 at 68:14–22, 71:17–24 (MP).
113
      Id. at 68:14–22 (MP).
114
      Ex. 64 at NAV-02358936; Ex. 63 at 72:9–73:5, 75:21–77:25 (MP).

                                           21
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 25 of 102




         90.



                                        115



         91.
                                                                  117



               5.    JB
         92.   JB received unemployment and hardship deferments online from

December 2011 to July 2016, without speaking to a Navient representative. 118

         93.   During his deposition, JB did not answer whether he was unemployed

while he was enrolled in unemployment deferment.119 When asked about his

financial circumstances or employment history, he invoked the Fifth Amendment

or otherwise did not answer.120

         94.   JB produced an email he received on June 8, 2016, which asked

whether he had “looked into the government’s income-driven repayment plans for




115
      Ex. 28 at *44; Ex. 63 at 75:19–76:19 (MP).
116
      Ex. 28 at *51; Ex. 64 at NAV-02358937; Ex. 63 at 78:1–18 (MP).
117
      Ex. 64 at NAV-02358937 ‒ 8990; Ex. 63 at 78:1–79:19 (MP).
118
      Ex. 66 at NAV-02966037 ‒ 6045; Ex. 43 at 126:17–127:5, 138:13–140:24 (JB).
119
      Ex. 43 at 127:6–134:3 (JB).
120
   Id. at 10:16–20:21, 76:8–78:24, 80:20–25, 127:6–22, 133:18–134:13, 135:4–6
(JB).

                                          22
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 26 of 102




federal loans.” In bold, purple text, set off from the black text of the rest of the

email, the email said, “You could even qualify for a payment of $0!” The email

then provided instructions for applying on studentloans.gov.121

         95.   JB remembered receiving additional emails from Navient similar to

that June 8, 2016 message. 122

         96.    By the time he called Navient in August 2016, Navient had sent JB

this email at least eight times.123

         97.   On August 11, 2016, JB spoke to a Navient representative about

obtaining additional deferment time, but he enrolled in a forbearance because he

did not have any additional deferment time available to him.124

         98.   The same day, Navient sent JB a letter informing him that it had

“approved [his] request for forbearance.”125 The letter also offered a “quick

summary of ways to reduce or postpone your monthly payments,” including a




121
      Ex. 67 at *1; Ex. 43 at 154:24–163:24 (JB).
122
      Ex. 43 at 164:13–15 (JB).
  Ex. 66 at NAV-02966042 ‒ 6045 (“X558 – EXIT DUAR/DUEM EMAIL
123

SNT”); Ex. 43 at 164:4–15 (JB).
124
      Ex. 66 at NAV-02966046; Ex. 43 at 186:12–187:22 (JB); see also Ex. 68.
125
      Ex. 67 at *5.

                                           23
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 27 of 102




description of “[i]ncome-driven” repayment, under which “[y]ou may also qualify

for loan forgiveness after 20 or 25 years.” 126

         99.    The next day, Navient sent JB an email with the subject line “Here are

some payment options that may help you.” 127 The top of the email stated, “[JB],

we have payment options that may help you.” 128 The body of the email thanked

JB for his recent phone call and stated, “[a]s a follow-up, we want to be sure you

know about additional repayment options,” including the option to “reduce your

monthly payments for twelve months based on your income and other factors.” 129

         100. JB enrolled in IDR in December 2016.130

         101. At the CFPB’s request, JB signed a declaration on August 24, 2017.

The declaration omitted the fact that he received multiple written communications

about IDR, including a letter Navient sent at the same time it sent confirmation of

JB’s enrollment in forbearance. 131 At his deposition, JB testified that the CFPB




126
      Ex. 67 at *8.
127
      Ex. 67 at *10‒11; see also Ex. 43 at 194:9‒198:13 (JB).
128
      Ex. 67 at *10 (emphasis in original).
129
      Id. at *10, *11.
130
      Ex. 67 at *13; Ex. 43 at 214:17–215:14 (JB).
131
      See Ex. 68.

                                              24
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 28 of 102




investigator who drafted his declaration had only requested letters related to

forbearance.132

                6.   AN

         102.




         134



         103.



                              135



         104.



                                           136




132
      Ex. 43 at 241:20–242:7, 248:8–25 (JB).
133
      Ex. 69 at 68:12‒20 (AN); Ex. 70 at *1.
134
  Ex. 70 at *2, *4, *17, *31; Ex. 69 at 79:18‒81:22, 100:18‒102:10, 118:18‒24,
134:23‒136:12 (AN).
135
      Ex. 69 at 20:24‒21:15 (AN).
136
      Ex. 69 at 111:4‒113:5, 138:20‒139:9, 170:14‒172:5 (AN).

                                          25
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 29 of 102




            105.



                                               13


                           138



            106.



                           139




                   140



            107.




                                            142



            108.




137
      Ex. 70 at *6, *9; Ex. 69 at 108:8‒110:24 (AN).
138
      Ex. 69 at 115:13‒116:5 (AN); Ex. 70 at *15‒16.
139
      Ex. 71.
140
      Id.
141
      Ex. 72 at NAV-06500573.
142
      Id.

                                          26
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 30 of 102




                                                                        143




         144
                                              .145
                                                       146
         109.

         110.

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         111.
                                                                             148



         112.
                                                 149




                                        150




143
      Ex. 70 at *24 (lines 5‒12); Ex. 69 at 121:8‒126:15 (AN).
144
      Ex. 70 at *25 (line 5) through *26 (line 16).
145
      Id. at *26 (line 15) through *28 (line 5).
146
      Id. at *33; Ex. 69 at 148:3‒16 (AN).
147
      Ex. 69 at 151:23‒152:9, 154:4‒7 (AN).
148
      Id. at 159:25‒161:9 (AN).
149
      Id. at 164:11‒18 (AN).
150
      Id. at 165:6‒15 (AN).

                                                27
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 31 of 102



                                                                        151
            113.

                   7.   GJ
            114. On December 31, 2009, Navient sent a letter describing “several

repayment options that help make payments more manageable,” including

“[i]ncome-sensitive repayment” and “[i]ncome-based repayment.” 152

            115. On April 6, 2010, GJ called Navient and enrolled in a forbearance. 153

            116. GJ does not remember the other repayment options discussed on the

call. 154

            117. During a phone call on March 24, 2011, GJ discussed IDR with a

Navient representative. 155 The same day, Navient sent GJ an IDR application. 156

GJ was enrolled in IDR from May 2011 through August 2015, at which point he

was no longer eligible under ED formulas because his income had increased.157




151
      Ex. 70 at *35; Ex. 69 at 166:4‒13 (AN).
152
      Ex. 74 at *1; Ex. 73 at 93:4–95:4 (GJ).
153
      Ex. 75 at NAV-02966724; Ex. 73 at 113:18‒24 (GJ).
154
      Ex. 73 at 104:23–105:3 (GJ).
155
      Ex. 75 at NAV-02966740.
156
      Id.
157
  Ex. 74 at *14, *23 (line 19) through *24 (line 2); Ex. 73 at 111:9–16, 129:6–8,
130:11–134:9, 140:20–141:8 (GJ).

                                             28
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 32 of 102




         118. After he was no longer eligible for IDR, GJ requested a

forbearance.158

         119. Because GJ did not pay accrued interest during the three years he was

enrolled in IDR, about $3,000 in unpaid interest was capitalized when he was no

longer enrolled.159

         120. GJ complained to Navient that he “owe[d] like 30,000 more dollars

than [he] originally took out for a loan.”160 He told the representative that he had

been “screwed” by IDR and that the program was “stupid as f***.” 161

         C.     Borrowers Who Avoided Or Rebuffed Efforts To Inform Them
                About IDR, Or Chose Not To Enroll
                1.    RD

         121. When RD took out FFELP loans, she signed a promissory note that

listed the “Income-Sensitive Payment Plan” as a repayment option.162

         122. On February 12, 2009, before her first payment was due, Navient sent

RD a letter stating that Navient “offers several repayment options that help make




158
   Ex. 74 at *2, *15, *23 (line 19) through *25 (line 14), *29 (lines 4–20); Ex. 73
at 139:3–141:25 (GJ).
159
      Ex. 74 at *12; Ex. 73 at 135:6–136:24 (GJ).
160
      Ex. 74 at *39 (line 18) through *40 (line 3).
161
      Id. at *39 (line 19) through *41 (line 12); Ex. 73 at 135:6–136:24 (GJ).
162
      Ex. 21 at *1–4; Ex. 76 at 101:8–104:19 (RD).

                                            29
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 33 of 102




student loan payments more manageable,” including “[p]ayments that are tied to

your income.” 163

         123. In April 2009, RD was delinquent on her loans, and Navient sent a

letter that asked, “NEED SMALLER PAYMENTS?” and went on to state that

“Income-sensitive repayment allows for payments based on a percentage of your

income.” 164

         124. On September 20, 2009, after speaking to RD on the phone, Navient

sent RD a letter stating, “Thank you for your interest in an Income-Based

Repayment (IBR) plan,” along with an application and instructions for how to

apply. 165

         125. RD did not apply for IDR during that time. 166

         126. From 2009 to 2015, Navient sent RD information about IDR at least

36 times.167 For example, when RD expressed difficulty making payments to

Navient representatives, Navient sent a letter stating, “Important Information –




163
      Ex. 21 at *5; Ex. 76 at 122:1–8 (RD).
164
      Ex. 21 at *8–9; Ex. 76 at 130:5–132:9 (RD).
165
      Ex. 21 at *19–21; Ex. 76 at 142:10–146:14 (RD).
166
      Ex. 76 at 146:15–147:5 (RD).
167
  See Ex. 21 at *8–9, *10‒11, *13, *16, *22, *24, *27, *30, *32, *35, *37, *40,
*42, *45, *47, *48; Ex. 77 at *1, *4, *6, *7, *8, *10, *13, *15, *16, *19, *20, *21,
*22‒23, *25, *38, *39, *42, *44; Ex. 78 at *10, *12.

                                          30
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 34 of 102




Please Read.” The letter listed available options, including “Income-Related

Plans (such as Income-Based and Income-Sensitive) [which] allow monthly

payments that can change annually as your income changes.” 168

         127. RD acknowledged in her deposition that “from 2010 through 2014,

[Navient] sent [her] multiple letters with information about income-based

repayment options,” but she did not “pursue [an IDR plan] because [she] had the

best one, forbearance.” 169

         128. Navient also attempted to reach RD by phone when she was

delinquent, but on at least 197 occasions, she did not answer or hung up. 170

         129. A Navient representative contacted RD on April 1, 2014. RD

confirmed that, during that call, the representative said she wanted “to see what

options [RD] qualified for” but she could not do that unless RD “told [the

representative her] monthly income.”171 RD did not provide the information

requested by the representative and asked if she could “call [Navient] back at

another time.” 172




168
      See, e.g., Ex. 77 at *19.
169
      Ex. 76 at 169:17–170:4 (RD).
170
      Ex. 79 at NAV-01147604 ‒ 7672.
171
      Ex. 76 at 182:25–187:13 (RD).
172
      Ex. 77 at *33 (line 7) through *34 (line 22).

                                            31
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 35 of 102




         130. RD did not call Navient back.173

         131. In August 2014, RD requested a forbearance online, without speaking

to a Navient representative. 174

         132. Navient again contacted RD on October 17, 2014. The representative

explained that he could “prequalify [RD] for [her] options,” but when he asked for

RD’s “gross monthly income,” RD asked if she could call him back. 175 RD did not

provide income information despite the representative explaining repeatedly that

he was “trying to check on [her] options.”176

         133. On August 28, 2015, a Navient representative contacted RD.177 RD

explained that she was not working, and the representative pre-qualified her for “a

zero dollar amount” under the “income-based program,” stating that under that

program “your loans are forgiven at the end of that 25 years as long as you’re

making payments—even if they happen to be a zero dollar payment.” 178 The




173
      Ex. 79 at NAV-01147646 ‒ 7648; Ex. 76 at 187:23–25 (RD).
174
      Ex. 79 at NAV-01147649.
175
      Ex. 78 at *3 (lines 20–22), *6 (lines 12‒17).
176
      Ex. 78 at *6 (line 18) through *7 (line 25); Ex. 76 at 205:19–207:17 (RD).
177
      Ex. 79 at NAV-01147661 ‒ 7663; Ex. 76 at 213:16–214:22 (RD).
178
      Ex. 78 at *17 (lines 4–16); Ex. 76 at 213:16–214:22 (RD).

                                            32
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 36 of 102




representative processed a forbearance to cover past-due payments and sent RD an

IDR application. 179

         134. RD did not apply for IDR at that time.180

         135. In October 2015, a Navient representative again sent an IDR

application after speaking with RD on the phone.181

         136. RD applied for unemployment deferment through February 2017. 182

In April 2017 she applied for and was approved for an IDR plan. 183

         137. RD did not make any payments on her student loans from 2011 to

2014, 184 yet she consistently “made monthly payments on all [her] vehicles,”

which included a 2012 BMW X3 and before that a 2010 BMW 328i. 185

         138. RD testified that “from 2010 to 2015, [she] was not focused on [her]

school loans,” and “if [she] didn’t get on an income-based repayment plan back

then, it wasn’t intentional.”186




179
      Ex. 78 at *20‒21, *25–36.
180
      Ex. 76 at 225:9–18 (RD).
181
      Ex. 80 at *10 (lines 4–8), *14–25; Ex. 76 at 228:20–24, 241:8–25 (RD).
182
      Ex. 80 at *26–29; Ex. 76 at 243:6–244:19, 322:14–323:1 (RD).
183
      Ex. 79 at NAV-01147679.
184
      Ex. 76 at 180:17‒182:6 (RD).
185
      Id. at 86:24‒88:2 (RD).
186
      Id. at 194:5–10 (RD).

                                          33
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 37 of 102




         139. On August 18, 2017, RD signed a declaration drafted by the CFPB

stating that Navient had consistently informed her that her “best and only

repayment option . . . was forbearance” and that she learned about the IBR plan

only after completing her “own research in 2015.” 187

         140. When asked about the statements in her declaration, RD explained

that she did not “intentionally lie” by signing the declaration because she “didn’t

remember” the calls in which Navient informed her about IDR options.188

                2.    ZB
         141. Although ZB testified that she did not remember whether she read

about IDR options on the Navient website, she testified that she had visited the

website 189 and “would have” clicked on a link entitled “Repaying your student

loans.”190

         142.   Initially, Navient serviced only ZB’s FFELP loans.191

         143. ZB’s first payment on those loans was due in May 2011 because she

had been enrolled in an in-school deferment and then had a grace period.192



187
      Ex. 81 at ¶¶ 7–8.; Ex. 76 at 315:11–316:17 (RD).
188
      Ex. 76 at 217:9–17 (RD).
189
      Ex. 82 at 83:12–18 (ZB).
190
      Ex. 8 at *12; Ex. 82 at 83:19–84:15 (ZB).
191
      Ex. 82 at 180:9‒23 (ZB).
192
      Ex. 8 at *16; Ex. 82 at 79:15–81:3 (ZB).

                                          34
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 38 of 102




         144. On February 10, 2011, Navient sent a letter asking, “Want to lower

your scheduled payments?” and stating that Navient “offers several repayment

plans,” including “Income-Sensitive Repayment” and “Income-Based

Repayment.” 193

         145. ZB was delinquent on her loans from 2011 to 2014 on multiple

occasions, and at least 22 times, she received delinquency letters informing her that

she “may be eligible” for “lower monthly payments provided through income-

sensitive, income-contingent or income-based repayment plans.”194

         146. In December 2011, Navient sent a letter notifying ZB that she was

close to default and stating that she “may still be eligible for . . . repayment plans

such as income-sensitive and income-based repayment.”195

         147. Navient began servicing ZB’s Direct Loans in April 2012, by which

time she had already defaulted on those loans.196

         148. ZB confirmed that she “read letters from [Navient]” and that

“[Navient] informed [her] about income-related plans.”197



193
      Ex. 8 at *14; Ex. 82 at 75:9–23 (ZB).
194
  See, e.g., Ex. 8 at *18, *20, *23, *25, *27, *29; Ex. 22 at *7, *9, *11, *14, *16,
*19, *22, *24, *26, *28, *31, *34, *36, *38, *41, *43.
195
      Ex. 8 at *29.
196
      Ex. 22 at *1, *4; Ex. 82 at 182:8–183:2 (ZB).
197
      Ex. 82 at 76:5–9, 111:4–9, 116:16–23 (ZB).

                                              35
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 39 of 102




         149. Navient representatives attempted to reach ZB on the phone, but on at

least 403 occasions, ZB did not answer or hung up.198

         150. In February 2012, ZB’s loans were 254 days delinquent and she was

nearing default.199

         151. At that time, ZB spoke with a Navient representative, who processed a

forbearance to bring her account current. 200 The representative also sent ZB an

application for unemployment deferment and processed a forbearance of 21 days

that provided time “to fill out the unemployment deferment request.”201

         152. ZB did not apply for an unemployment deferment at that time.202

         153. On January 12, 2015, ZB spoke to a Navient representative who told

her that she was “pre-eligible for zero dollar monthly payments with the income-

based repayment program,” sent ZB an IDR application, and stated that ZB could

apply at studentloans.gov.203 The representative processed a forbearance effective




198
      See, e.g., Ex. 83 at NAV-02966819 ‒ 6905.
199
      Id. at NAV-02966828; Ex. 8 at *31.
200
      Ex. 8 at *33; Ex. 83 at NAV-02966827 ‒ 6828; Ex. 82 at 112:2–113:9 (ZB).
  Ex. 8 at *36–40, *35; Ex. 83 at NAV-02966827 ‒ 6828; Ex. 82 at 112:2–113:22
201

(ZB).
202
      Ex. 83 at NAV-02966827 ‒ 6828.
203
      Ex. 30 at *6 (lines 3–24), *10–21; Ex. 82 at 185:23–186:22 (ZB).

                                           36
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 40 of 102




until March 14, 2015 and stated that ZB “would need to get that [IDR] application

turned in before then” to avoid going “straight back into repayment.” 204

         154. ZB did not apply for IDR until October 2015, but she was approved

on October 6, 2015.205

         155. ZB did not renew her IDR plan the next year and instead applied for

another unemployment deferment.206

         156. The unemployment deferment application she signed stated “[i]nstead

of deferment, I may be eligible for a repayment plan that determines my monthly

payment amount based on my income.”207

         157. In January 2017, a Navient representative recommended that ZB re-

apply for IDR, stating, “you would still want to get back on the income-based

program so that when [your loans] go into repayment, you’ll have a payment based

on your income and your family size.”208

         158. ZB applied and was approved until July 25, 2018.209




204
      Ex. 30 at *6 (line 23) through *7 (line 23).
205
      Id. at *24; Ex. 83 at NAV-02966879; Ex. 82 at 197:22–199:20 (ZB).
206
      Ex. 30 at *25–26; Ex. 82 at 199:25–202:6 (ZB).
207
      Ex. 30 at *26; Ex. 82 at 200:20–203:14 (ZB).
208
      Ex. 30 at *32 (line 23) through *33 (line 7); Ex. 82 at 204:3–207:5 (ZB).
209
      Ex. 30 at *40.

                                            37
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 41 of 102




         159. ZB does not remember the repayment options she discussed with

Navient between 2011 and 2016. 210

         160. ZB testified in her deposition that the sworn statement in her

declaration that “[f]rom 2010 through 2014, the only repayment option that

[Navient] offered was forbearance” was incorrect, 211 stating, “[n]ow that we’re

sitting here reading these letters, the letters say that I was offered more than

that.”212

                3.     CP
         161. From 2009 to 2015, CP was delinquent on 16 monthly payments 213

and received 6 forbearances to bring her account current.214

         162. Before and after receiving forbearances, CP received information

about IDR. 215 For example, on November 27, 2009, she received a letter that she

was past due and advising her that she “may be eligible for reduced payment




210
      Ex. 82 at 101:4–102:10 (ZB).
211
      Ex. 84 at ¶ 9.
212
      Ex. 82 at 151:7–155:8 (ZB).
213
   See, e.g., Ex. 7 at *2, *4, *8, *10, *17, *19, *21, *23, *26, *35, *37; Ex. 85 at
*1, *4, *7, *10, *12, *25.
  Ex. 86 at NAV-02967236 ‒ 7237, NAV-02967240 ‒ 7241, NAV-02967244 ‒
214

7245, NAV-02967256, NAV-02967260 ‒ 7261, NAV-02967266 ‒ 7267.
215
    See, e.g., Ex. 7 at *8–9, *12, *15–17, *19, *21–22, *25, *28, *35, *37; Ex. 85
at *1–2, *3, *4, *6, *7.

                                           38
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 42 of 102




options, such as interest-only payments, income-based repayment and income-

sensitive repayment.”216

         163. On October 20, 2010, Navient sent CP a letter asking, “Want to lower

your scheduled payments?” and stating that “[Navient] offers . . . several

repayment options that help make payments more manageable,” including

“[i]ncome-based repayment with payments that are tied to your income, family

size, and total outstanding balance of eligible loans.”217

         164. On December 10, 2010, Navient sent a letter describing “Repayment

Plan Options,” including information about “Income-Sensitive Repayment,” and

“Income-Based Repayment.”218

         165. She received a similar letter at least six times. 219

         166. CP confirmed at her deposition that such documents “inform[ed] [her]

of a variety of repayment options,” “[i]ncluding payments that are tied to your

income.” 220




216
      Ex. 7 at *12.
217
      Id. at *25.
218
      Id. at *28; Ex. 87 at 128:19–131:18 (CP).
219
      Ex. 7 at *28; Ex. 85 at *3, *22, *23, *27, *29.
220
      Ex. 7 at *1, *7; Ex. 87 at 99:17–102:2, 113:14–115:17 (CP).

                                             39
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 43 of 102




         167. CP also “recall[ed] inquiring about . . . payments that are tied to my

income” sometime after 2011.221

         168. In November 2013, a Navient representative asked CP on the phone

“[w]hat if we lower down your regular monthly payments to something you can

afford on a monthly basis?”222 CP stated that she did not want to pursue that

option, and did not answer when asked, “do you receive any public assistance from

the government, Medicaid, food stamps?”223

         169. Navient sent CP a letter that same day explaining that she “may

qualify” for “Income-Related Plans (such as Income-Based and Income-

Sensitive),” which “allow monthly payments that can change annually as your

income changes.” 224

         170. CP did not apply at that time.225

         171. During a phone call on January 2, 2015, a Navient representative

modeled CP’s eligibility for IDR. 226 After the call, Navient sent CP an IDR




221
      Ex. 87 at 102:7–15 (CP).
222
      Ex. 85 at *19 (lines 1–3); Ex. 87 at 191:14–193:5, 205:16–208:4 (CP).
223
  Ex. 85 at *18 (line 19) through *19 (line 18); Ex. 87 at 191:14–193:5, 205:16–
208:4 (CP).
224
      Ex. 85 at *22; Ex. 87 at 209:17–210:19 (CP).
225
      Ex. 86 at NAV-02967284 ‒ 7286.
226
      Id. at NAV-02967186 – 7187.

                                           40
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 44 of 102




application. 227 CP applied for IDR on April 13, 2015 but was denied because she

did not meet the “federal definition of ‘partial financial hardship.’” 228

            172. CP submitted a sworn declaration to the CFPB stating that Navient

only told her about forbearance and that she had enrolled in forbearance in January

2011. 229

            173. CP submitted an unemployment deferment application to Navient on

January 5, 2011.230

            174. CP testified that she did not know the difference between an

unemployment deferment and forbearance when she submitted her declaration. 231

                  4.    LF
            175. When LF took out FFELP loans in 2006, she signed a promissory note

describing IDR.232




227
      Id.
228
      Ex. 85 at *31.
229
      Ex. 88 at ¶ 5.
230
      Ex. 7 at *33; Ex. 87 at 138:8–147:18 (CP).
231
      Ex. 87 at 144:15–145:7, 146:9–19 (CP).
232
   Ex. 89 at 50:24–55:17 (LF); Ex. 90 at *5 (“Income-Sensitive Repayment Plan
– If I choose this plan, my monthly payments will be adjusted annually based on
my expected total monthly gross income from all sources. I may call my lender at
any time for more information about this repayment plan option.”).

                                             41
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 45 of 102




         176. On January 20, 2009, when she was scheduled to begin repaying her

loans, Navient sent LF a letter stating that Navient “offers several repayment

options that help make student loan payments more manageable,” including

“[p]ayments that are tied to your income.”233

         177. From 2009 through 2014, she received information about IDR at least

18 times.234

         178. LF does not remember the repayment options that she discussed with

Navient representatives from 2009 to 2014. 235

         179. On January 27, 2010 and February 3, 2012, LF requested and received

forbearances online without speaking to a Navient representative. 236

         180. On April 23, 2015, a Navient representative discussed repayment

options with LF and “pre-qualified” her for the “income-based repayment

program,” explaining that her payment under this plan could be as low as “zero




233
      Ex. 90 at *10–13; Ex. 89 at 58:14–60:21 (LF).
234
   Ex. 90 at *14‒16, *19‒21, *22‒24, *25‒27, *33; Ex. 91 at *1–3, *4–5, *6–7,
*8–9, *10–11, *12, *13–15, *16–17, *18–19, *20–21, *22–23, *24–25, *26; Ex.
31 at *15, *18.
235
      Ex. 89 at 84:14–85:8, 86:12–20, 96:10–12, 173:11–175:24 (LF).
236
      Ex. 90 at *34–35, *36–37; Ex. 89 at 77:7–82:3, 94:17–95:21 (LF).

                                          42
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 46 of 102




dollars.”237 The representative applied a forbearance to cover past-due amounts

and sent LF an IDR application.238

         181. LF did not apply for IDR at that time. 239

         182. On July 15, 2015, LF called Navient to request another forbearance to

bring her loans current so that she could apply for an apartment. 240 After asking

LF questions about her income and family size, the representative approved a

forbearance until December 2016.241

         183. In January 2016, LF again contacted Navient and asked to “defer [her]

loan.” The representative offered to “pre-qualify [LF] for other options.” Based

on the financial information LF provided, the representative informed her that she

“may be eligible to have a zero [dollar] payment for 12 months and that’s

renewable every year.” 242 LF responded that she was interested in this plan. The

representative sent LF IDR application instructions, processed a forbearance to




237
      Ex. 91 at *29 (line 25) through *31 (line 7); Ex. 89 at 122:14–123:14 (LF).
238
      Ex. 91 at *31 (lines 5–24); Ex. 89 at 125:13–128:10 (LF).
239
      Ex. 89 at 133:3–16 (LF).
240
      Ex. 91 at *35 (line 4) through *36 (line 10); Ex. 89 at 130:19–134:19 (LF).
241
  Ex. 91 at *36 (line 14) through *37 (line 16), *43 (line 24) through *44 (line 3);
Ex. 89 at 133:17–134:19 (LF).
242
      Ex. 31 at *5 (line 7) through *8 (line 7); Ex. 89 at 137:24–140:17 (LF).

                                           43
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 47 of 102




cover the past-due amounts, and applied a forbearance to “postpone [her] payments

for 60 days while waiting for th[e] application to go through.” 243

         184. LF submitted the application in February 2016 and was approved that

month. 244

                5.     AK

         185. On at least four occasions, Navient sent AK letters regarding the

availability of “lower monthly payments provided through . . . income-based

repayment plans.”245

         186. On at least two occasions, Navient representatives informed AK that

she would likely “qualif[y] for Income-Based Repayment” including the possibility

of a “current monthly payment [of] zero to $10 per month.” 246 The representatives

told AK that she could “apply online at . . . studentloans.gov.”247

         187. A Navient representative explained to AK that, together with IDR, the

public-service forgiveness program would enable her to “have a zero-dollar




243
      Ex. 31 at *1–3, *8 (line 2) through *11 (line 5).
244
      Ex. 31 at *13–14; Ex. 89 at 143:8–23 (LF).
245
      Ex. 92 at *1; see also, e.g., id. at *3, *6, *8, *11.
  Ex. 248; Ex. 92 at *17 (lines 1‒6); accord Ex. 249; Ex. 92 at *29 (lines 12‒20),
246

*30 (lines 15‒16).
247
    Ex. 248; Ex. 92 *17 (lines 7‒10); accord Ex. 249; Ex. 92 at *29 (lines 7–8), *30
(lines 10–14).

                                              44
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 48 of 102




payment” for ten years, at the end of which her “entire loan would be forgiven.” 248

The representative told AK that “this is going to be an excellent option” for her, 249

and she agreed, saying “[t]hat would be great.”250

         188. The representative mailed AK an IDR application the same day. 251
                                                          252
         189.
                                              253
         190.



                            254



         191.



                                   255                                       256




248
      Ex. 249; Ex. 92 at *29 (lines 17–20), *30 (lines 21–25).
249
      Ex. 249; Ex. 92 at *30 (lines 1–2).
250
      Ex. 249; Ex. 92 at *31 (lines 15–16).
251
      Ex. 92 at *31 (lines 17‒21); Ex. 93 at 260:4–11, 267:17–268:14 (AK).
252
      Ex. 93 at 300:10–16, 302:7–16 (AK).
253
      Id. at 266:19–267:16 (AK).
254
      Id. at 128:5–129:11 (AK).
255
      Id. at 129:11–131:3 (AK).
256
      Id. at 130:4–10, 271:9–10, 272:17–273:14 (AK).

                                              45
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 49 of 102




               6.     KR

         192. KR consolidated his FFELP loans in 2005 and selected a standard

repayment plan instead of IDR.257

         193. Initially, Navient serviced KR’s consolidated loan and one private

loan.258

         194. After KR defaulted on five other federal student loans in 2005 and

2006 and completed federal loan rehabilitation, Navient began servicing those

loans as well.259

         195. KR testified that “church contributions, car payments and mortgage

payments [were] higher [financial priorities] than [his] student loan payments at

certain points in time.” 260

         196. Between 2005 and 2014, KR did not answer a large number of phone

calls from Navient. 261




257
      Ex. 95 at *1–*7; Ex. 94 at 63:7–64:12, 65:18–66:21, 101:22–102:10 (KR).
258
      Ex. 96 at NAV-01576289 – 6291.
259
      Ex. 97 at *10, *12, *14, *16, *19.
260
      Ex. 94 at 172:10–174:25 (KR).
261
      See, e.g., Ex. 96 at NAV-01576291 – 6594.

                                           46
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 50 of 102




         197. On at least two occasions when KR answered, he did not provide

identifying information.262

         198. On at least one occasion, he hung up the phone in the middle of the

conversation. 263

         199. On at least 11 occasions, KR referred to the agents as “b**ch,”

“dumb*ss,” and other profanities. 264 For example, on June 28, 2012, KR called the

representative a “stupid b**ch” before asking what options were available. 265 The

representative responded that KR could “possibly apply[] for income-based

repayments.” KR interrupted the representative and asked for someone “more

competent.”266 After the representative again stated that he could “possibly be[]

able to apply for income based repayment,” 267 KR responded, “Look, b**ch, I

don’t want to talk to you.”268


262
   See, e.g., Ex. 98 at *16 (line 1) through *20 (line 10); Ex. 99 at *15 (line 1)
through *17 (line 12), *38 (lines 1–18); Ex. 100 at *19 (line 1) through *24 (line
17); see also Ex. 94 at 146:2–151:17, 152:17–154:2, 195:4–197:15, 279:24–281:23
(KR).
263
      Ex. 99 at *27 (line 17) through *28 (line 2); Ex. 94 at 212:10–22 (KR).
264
  Ex. 222 at NAV-01576047, NAV-01576052, NAV-01576055, NAV-01576068,
NAV-01576142, NAV-01576204, NAV-02966658, NAV-02966663, NAV-
02966665, NAV-02966666, NAV-02966668.
265
      Ex. 99 at *39 (lines 1–10); Ex. 94 at 221:24–222:2 (KR).
266
      Ex. 99 at *39 (lines 11–18); Ex. 94 at 222:25–223:7 (KR).
267
      Ex. 99 at *39 (lines 19–21); Ex. 94 at 223:21–224:18, 227:24–228:6 (KR).
268
      Ex. 99 at *40 (lines 2–9); Ex. 94 at 230:6–10 (KR).

                                           47
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 51 of 102




            200. From June 2009 to June 2013, KR received more than 50 letters

describing “Income-Sensitive Repayment [which] allows for payments based on a

percentage of your income (4% - 25%)” and “Income-Based Repayment [which]

determines your monthly payment amount by taking into account your income,

family size, and total amount borrowed.”269

            201. KR requested and received at least three forbearances to cover past-

due amounts.270

            202. On September 10, 2013, Navient warned KR that he needed to make a

“minimum payment” otherwise Navient would “default the loan” and it would “be

sent to third-party collections.” 271 KR responded by saying “Okay, that’s not

going to happen, ever,” and “I told you that I don’t care.”272

            203. He again defaulted. 273

IV.         NAVIENT’S PROCEDURES INSTRUCTED REPRESENTATIVES TO DISCUSS
            APPROPRIATE REPAYMENT OPTIONS
            204. Since at least October 2011 until October 2015, Navient’s servicing

procedures have stated in a red box that “Forbearance should not be considered


269
  Ex. 95 at *8–9, *11–36; Ex. 98 at *1–14, *38–43; Ex. 99 at *1–13, *30–36; Ex.
101 at *1, *5–46; Ex. 100 at *1–10.
270
      Ex. 95 at *10; Ex. 98 at *44–46; Ex. 101 at *2–4.
271
      Ex. 100 at *27 (line 9) through *28 (line 8).
272
      Id.
273
      Ex. 94 at 71:8–73:16 (KR).

                                             48
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 52 of 102




until all other options have been exhausted.” 274



                                                                  275



        205. Since at least October 2011, Navient’s procedures for borrowers

experiencing difficulty making their loan payments have guided representatives to

ask questions to determine the “[r]oot [c]ause” of borrowers’ hardship 276 and to

then discuss appropriate repayment options depending on whether the borrower

needs a “[s]hort [t]erm or [l]ong [t]erm solution.”277 The procedures guide

representatives to suggest IDR to borrowers “experiencing long term financial

hardship.”278




274
  Ex. 102 at NAV-01665845 – 5847; see also Ex. 103 at NAV-01054696; Ex.
104 at NAV-01000510; Ex. 105.
275
      Ex. 106 at NAV-01001505; Ex. 107 at NAV-03210952.
276
  Ex. 102 at NAV-01665846 – 5847; Ex. 103 at NAV-01054696; Ex. 104 at
NAV-01000510; Ex. 105 at NAV-03197206; see also Ex. 106 at NAV-01001504.
277
  Ex. 102 at NAV-01665846 – 5847; Ex. 103 at NAV-01054696; Ex. 104 at
NAV-01000510; Ex. 105 at NAV-03197206; see also Ex. 106 at NAV-01001504;
Ex. 107 at NAV-03210952.
278
  Ex. 102 NAV-01665846 – 5847; Ex. 103 at NAV-01054696; Ex. 104 at NAV-
01000510; Ex. 105 at NAV-03197206; see also Ex. 106 at NAV-01001505; Ex.
107 at NAV-03210952.

                                          49
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 53 of 102




         206. Representatives are also guided, when discussing IDR, to estimate

borrowers’ monthly IDR payments based on their family size, marital status, and

annual gross income. 279

         207. Since at least July 2011, Navient’s procedures have stated that

borrowers who enroll in IDR may be eligible for “a $0 monthly payment.”280

         208. Since at least March 2014, representatives interacting with delinquent

borrowers have been instructed to use an online tool that “guide[s] [the

representative] through the right repayment option for the customer.”281 The tool

prompts the representatives “to ask specific questions designed to determine the

best option for the borrower based on their current situation,” including “questions

geared to determine eligibility for $0 IBR.”282

         209. Before granting a forbearance over the phone, Navient requires a

borrower to agree that “you are willing but temporarily unable to make your

payments due to hardship” and that “you may be eligible for repayment options,

which include . . . income driven repayment plans.”283




279
      See Ex. 65 at NAV-01771835 – 1836.
280
      Ex. 108 at NAV-00980415.
281
      Ex. 148 at 181:22–24.
282
      Ex. 109 at NAV-01668302; see also Ex. 110 at NAV-01671255.
283
      Ex. 111 at NAV-01723760.

                                          50
      Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 54 of 102




      210. Navient has processes for monitoring and reviewing representatives’

phone calls with borrowers, using scorecards to rate representatives’ compliance

with Navient’s procedures.284

      211. Although scorecards have changed over time, the scorecards have

asked, for instance, whether the “[b]est repayment option/deferment [was] offered

based on customer needs,” and whether “the agent provide[d] the best solution for

the customer’s situation.”285

      212. As part of Navient’s quality assurance process, representatives are

also scored based on, among other things, how well they follow Navient’s

instructions to ask “probing questions” to “confirm[] [the] customer’s best

option.”286

      213. When Navient identifies a call where a representative does not discuss

appropriate repayment options, Navient’s practice has been to “provide the




284
   See, e.g., Ex. 112 at 62:22–66:14, 85:10–12, 89:15–93:15 (Jeckell); Ex. 113 at
34:10–17, 93:9–94:8, 99:22–100:1 (Wisnewski); Ex. 114 at 48:24–49:25
(Potomis).
285
   Ex. 115 at NAV-01967974; Ex. 116 at NAV-02949977; see also Ex. 117 at
NAV-04836996; Ex. 118 at NAV-04354127; Ex. 119 at NAV-02949848; Ex. 120
at NAV-02069894.
286
  Ex. 121 at NAV-02579984, Ex. 122 at NAV-02659442; Ex. 114 at 152:3–
153:11, 159:12–23 (Potomis).

                                        51
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 55 of 102




feedback to the agent” and “call the customer back” to discuss available options,

including IDR plans where appropriate. 287

         214. Representatives who receive low scores may have their bonuses

“reduce[d] or even eliminate[d]” under Navient’s incentive-compensation plan. 288

Representatives with consistently low scores may face termination. 289

         215. A Navient supervisor testified after listening to the August 2016 call

with JB that, had he listened to the call during Navient’s regular call monitoring,

he would have found “infractions” of the Company’s policies and practices: He

stated that the representative on the call with JB “should have . . . look[ed] into

income-driven repayment option[s],” and that the supervisor would have provided

“a lot of coaching” to the representative. 290




287
  Ex. 112 at 66:4–25, 203:15–204:4 (Jeckell); Ex. 123 at 186:14–187:10, 188:21–
190:8 (Bailer).
288
  Ex. 124 at 180:18–181:15 (Powell); see also Ex. 123 at 22:18–28:20 (Bailer);
Ex. 125 at 43:3–46:9 (Catt); Ex. 126 at NAV-01515891 – 5893.
289
      Ex. 123 at 187:6‒10 (Bailer).
290
      Ex. 124 at 169:9–173:25, 179:19‒180:4 (Powell); see supra ¶ 97.

                                           52
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 56 of 102




V.          NAVIENT INFORMED BORROWERS ABOUT THE NEED TO RECERTIFY
            THEIR IDR ELIGIBILITY

            A.    Navient’s Letters Regarding IDR Renewal
            216. Since at least 2009, Navient has sent borrowers whose IDR

enrollment periods are expiring a renewal letter accompanied by an enrollment

renewal form. 291

            217. To borrowers with FFELP loans, Navient has sent its H356 letter and

an accompanying “Income-Based Repayment Plan Request Form” (“IBR Request

Form”). 292 Templates for this letter state that it is “[s]ent to income based

borrowers 90 days prior to their income based expiration due date.” 293

            218. The H356 letter, which was dated, stated that the borrower’s “IBR

period will expire in approximately 90 days” and that “[i]f [the borrower would]

like to continue with the IBR plan,” the borrower must “complete the included

Income-Based Repayment Plan Request Form.”294 The H356 letter additionally

instructed borrowers that they could “fax,” “mail,” or “upload” their “form(s) and




291
      See, e.g., Ex. 127 at NAV-02553937.
292
      Id.
293
      Id.
294
      Id. at NAV-02553939; Ex. 128 at NAV-00000085.

                                            53
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 57 of 102




documentation,” and provided a toll-free number for borrowers to call if they had

questions.295

        219. No earlier than December 2011, Navient added the following

language to the H356: “Please make sure the forms are filled out completely. By

providing incorrect or incomplete information the process will be delayed.

Typically, the IBR renewal process may take at least 30 days, depending on the

application method.” 296

        220. The attached ED “IBR Request Form” for FFELP loans provided

“instructions,” information about “required . . . documentation,” information about

“eligibility criteria,” and relevant “definitions” to aid borrowers with “the required

annual reevaluation of [the] payment amount under the IBR Plan.” 297 The form

also instructed: “Before answering any questions, carefully read the entire form,

including Sections 6, 7, and 9.”298

        221. Section 7 of the ED IBR Request Form provided “Eligibility Criteria.”

This section stated that “[a]fter entry into the IBR plan, you must annually certify

your family size and provide income documentation for determination of whether


295
      Ex. 127 at NAV-02553939 ‒ 3940.
296
   Ex. 127 at NAV-02553937 (“[u]pdated language” added “02/09/12”); Ex. 131
at NAV-02132422, 2423 ‒ 2425 (internal email showing proposed change).
297
      Ex. 128 at NAV-00000087 ‒ 0089.
298
      Id. at NAV-00000087.

                                          54
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 58 of 102




you have a partial financial hardship,” and that “[f]or any year you do not have a

partial financial hardship, your payment amount will be the payment amount for

your loan[s] under the standard repayment plan with a 10-year repayment period,

based on the amount owed on your eligible loan[s] at the time you initially entered

the IBR plan.”299 Section 7 further provided that “[i]n some circumstances your

IBR plan monthly payment may not cover all interest that accrues, and your debt

may increase,” and stated that “[a]ccrued interest is capitalized at the time you

choose to leave the IBR plan or no longer have a partial financial hardship.”300

            222. To borrowers with Direct loans, Navient sent H388 renewal letters

with two attached ED forms: the “Repayment Plan Selection Form” and the

“Repayment Plan Choice Form.” 301 Templates for this letter state that it was

“[s]ent to income based borrowers 90 days prior to their income based . . .

expiration due date.”302

            223. The H388 letter, which was dated, stated that “[y]our current IBR 12-

month repayment period will expire in approximately 90 days,” and “[i]f you’d

like to continue with the IBR payments, please complete the included Repayment




299
      Id. at NAV-00000088.
300
      Id.
301
      Ex. 129 at NAV-02137835.
302
      Id.

                                             55
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 59 of 102




Plan Selection Form.” 303 The letter further stated, “[p]lease make sure the forms

are filled out completely and return them within the next 45 to 60 days,” and “[i]f

you don’t provide the requested information, you’ll remain in the IBR plan but

your monthly education loan payment could increase significantly.”304 The letter

also stated that “[t]he IBR renewal process may take at least 30 days, depending on

the application method.” 305

            224. Navient added the following language no earlier than December 2011:

“Please make sure the forms are filled out completely. . . . By providing incorrect

or incomplete information the process will be delayed.”306

            225. The enclosed ED “Repayment Plan Selection Form” for Direct Loans

told borrowers under the “Instructions” section to “carefully read this entire

form.”307 The form notes that the borrower must “complete and return the required

form(s) or other required documentation along with this Repayment Plan Selection

Form,”308 and states that “[u]ntil [the] servicer receives the information needed to




303
      Id. at NAV-02137836; Ex. 132 at NAV-00000094 ‒ 0095.
304
      Ex. 129 at NAV-02137836.
305
      Id.
306
   Ex. 130 at NAV-02555158 (“[u]pdated language” added “02/09/12”); Ex. 131
at NAV-02132422, 2434‒2436 (internal email showing proposed change).
307
      Ex. 132 at NAV-00000097.
308
      Id.

                                           56
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 60 of 102




calculate your [IDR] Plan payment amount, your initial payment amount will be

the full amount of interest that accumulates on your loan each month.”309

            226. Both the IBR Request Form and the Repayment Selection Form for

Direct loans stated, “WARNING: Any person who knowingly makes a false

statement or misrepresentation on this form or on any accompanying documents is

subject to penalties that may include fines, imprisonment, or both, under the U.S.

Criminal Code and 20 U.S.C. [§] 1097.”310

            B.    ED Began Requiring Servicers To Send IDR Renewal Notices In
                  2012
            227. In July 2012, ED issued a contract modification instructing that, by

December 2012, “the servicer shall send an annual notification of terms and

conditions to the borrower indicating that the borrower is on IBR and explaining

the terms and conditions of the plan,”311 which included an “[e]xplanation of the

consequences if the borrower does not submit updated information within (10)

days of the soft deadline . . . including explanation that the monthly payment

amount will increase, what the new monthly payment amount will be, and any




309
      Id.
310
      Ex. 128 at NAV-00000087; Ex. 132 at NAV-00000097.
311
      Ex. 133 at NAV-00041997, 1989 (emphasis in original).

                                             57
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 61 of 102




unpaid interest will be capitalized at the end of the current annual payment

period.”312

            228. Navient revised its letters to reflect these changes in December

2012. 313

            229. Navient sent the revised letters to ED for review.314

            230. ED paid Navient to implement the changes. 315

            C.    Navient Sent Borrowers Who Consented To Emails A Link To
                  The IDR Recertification Notice
            231. Borrowers consenting to electronic communications agreed that such

communications “may be delivered to you by posting such Communications to

your online account or on our website at http://mediaserver.salliemae.com, by

sending such Communications to your designated email address, or by making

such Communications available to you during your online session,” and agreed

that “[e]mail Communications may include attachments or embedded links.”316




312
      Id.
313
      See Ex. 134 at NAV-02555077; Ex. 135 at NAV-00648363.
314
      See Ex. 135 at NAV-00648363.
315
      Ex. 133 at NAV-00041988.
316
  Ex. 136 at NAV-03283858; Ex. 137 at NAV-02644323; Ex. 138 at NAV-
03062221.

                                              58
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 62 of 102




Such borrowers also agreed that such communications “would include . . . all

notices and disclosures,” among other types of communications. 317

         232. Beginning in March 2010, borrowers could consent to receive

electronic communications on ED’s website, studentloans.gov, and borrowers were

told that they “[would] receive an email notifying [them] when new

correspondence is available in [their] electronic mailbox and a link to it.”318

         233. In Spring 2014, ED updated the consent language to state that

servicers would be “provid[ing] notices and correspondence” to borrowers “by

posting it to [their] online account or on the servicer’s website or notifying [them]

at the electronic contact information listed in [their] profile.”319

         234. Borrowers could click on a link in the email to access the IDR

recertification letter and IDR renewal form in their inbox on Navient’s website. 320

         D.     The Witness Identified By The CFPB Did Not Review The
                Challenged Email
         235.
                                                      321




317
      Ex. 136 at NAV-03283858; Ex. 138 at NAV-03062221.
318
      Ex. 139 at NAV-00684886; Ex. 140 at NAV-01852824.
319
      Ex. 141 at NAV-00004642.
320
  Ex. 148 at 98:20‒99:15 (Navient 30(b)(6) – Peterson); Ex. 149 at 151:25‒152:7
(MT).
321
      Ex. 149 at 18:6‒7, 54:11‒15, 63:19‒22 (MT).

                                           59
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 63 of 102




         236.
                     322



         237.



                                     323




                             324



         238.



           325



         239.




                           326




322
      Id. at 57:20–58:9 (MT).
323
      Id. at 53:17–19, 71:13–72:18, 112:22– 24 (MT).
324
      Id. at 71:24–72:15 (MT).
325
      Id. at 119:16‒24 (MT).
326
      See Ex. 150 at *1–5
           ; see also Ex. 149 at 221:1–228:10 (MT)



                                           60
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 64 of 102




                                    327



         240.
                328                                                329



         241.



                                                  330




                                     331



         242.
                                   332




327
      Ex. 150 at *1–5.
328
      Ex. 149 at 90:19‒24 (MT).
329
      Ex. 144 at *1; Ex. 149 at 101:12‒18 (MT).
330
      Ex. 144 at *1; Ex. 149 at 104:8‒9 (MT).
331
      Ex. 144 at *1; Ex. 149 at 106:9‒16 (MT).
332
      Ex. 149 at 101:12‒25 (MT).

                                           61
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 65 of 102




            243.




                   333



            244.
                                                                  334



            245.
                                                                   335




                                                  336




                                                                         337




333
      Id. at 92:3‒5, 91:3‒13, 105:13‒24 (MT).
334
      Id. at 119:13–120:4 (MT).
335
      Ex. 144 at *2; Ex. 149 at 121:18‒24 (MT).
336
      Ex. 144 at *2.
337
      Id.

                                         62
            Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 66 of 102




            246.
                                           338




      339
                                                                         .340

            247.

                    .341

            248.

                                                 . 342

            249.

                                                     .343

            250.



                                                                            344




338
      Ex. 145 at *30; Ex. 149 at 145:11‒24 (MT).
339
      Ex. 145 at *30.
340
      Id.; Ex. 149 at 151:25–152:7 (MT).
341
      Ex. 149 at 148:10‒16, 151:13‒21, 183:9‒13 (MT).
342
      Id. at 123:4‒6; 113:7‒10 (MT).
343
      Id. at 112:25–113:5 (MT).
344
      Ex. 146 at *1, *13.

                                           63
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 67 of 102




         251.
                                    345



         252.
                                  346



         E.     The CFPB’s Expert Conducted Surveys Regarding
                Recertification Communications

         253. The CFPB engaged Dr. Tülin Erdem to conduct surveys relating to

Navient’s IDR recertification emails and letters.347

         254. Dr. Erdem asked respondents



                                                   348




                                                         349



         255. In her rebuttal report, Dr. Erdem stated




345
      Ex. 149 at 153:23–154:7 (MT).
346
      Ex. 147 at *1.
347
      Ex. 4 at ¶ 15a.
348
      Id. at ¶¶ 52, 60.
349
      Id. at ¶ 60 & fig. 6.

                                          64
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 68 of 102



                                                            350
                                                                  Likewise, at her

deposition, Dr. Erdem agreed that the survey was “not actually measuring how

many respondents would have logged on to their accounts.” 351

         256. “[A]lmost every respondent [to Dr. Erdem’s Recertification Notice

Survey] who saw the 2012 letter understood that the ‘deadline to renew’ was on or

before February 12th—90 days after the date of the letter, and the approximate

date the IBR plan would expire.”352

VI.      NAVIENT REQUIRED CONSECUTIVE ON-TIME PAYMENTS FOR COSIGNER
         RELEASE
         257. After students have graduated, borrowers may apply for cosigner

release if they meet certain requirements.353 Those requirements include “proof of

citizenship, proof of graduation,” and a minimum number (generally 12 or 24) of

“on-time payments,” which must be made consecutively. 354




350
      Ex. 151 at ¶ 50.
351
      Ex. 152 at 260:21–261:4 (Erdem).
352
      Ex. 153 at ¶ 76.
353
      Ex. 155 at 41:13‒22 (Stashik).
354
   Id. (Stashik) (“Q: [W]hat are the current requirements for a cosigner to be
released from a private student loan? A: Proof of citizenship, proof of graduation,
12 on-time payments[,] . . . [and] they have to meet the credit review criteria as
well.”); id. at 69:15‒16 (“Q: And there’s the requirement that they’re consecutive
as well; is that correct? A: Yes.”).

                                         65
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 69 of 102




         258. Cosigner release will only be granted if the borrower can meet credit

underwriting criteria. 355

         259. The “on-time payments [requirement] is to demonstrate the capacity

to make continuous, on-time payments” without the assistance of a cosigner.356

         260. Until August 2014, Navient required the payments to be made in

consecutive months, even if a borrower had paid her loan ahead. 357

         261. Navient asked the CFPB to identify “any and all false or misleading

Communications,” and the CFPB answered “Navient[’s] . . . representation to

borrowers that they could apply for co-signer release if they made a certain number

of ‘consecutive, on-time principal and interest payments.’”358

         262. Navient also asked the CFPB to “[i]dentify each Navient Borrower

who allegedly was wrongly denied cosigner release for failing to make an on-time

payment in each of 12 consecutive months and describe the circumstances.” 359




355
   Id. at 61:11‒62:7, 105:23‒25 (Stashik) (discussing Navient’s practice of pulling
and reviewing a credit report for borrowers applying for cosigner release).
356
      Id. at 46:23–25 (Stashik); see also Ex. 154 at 189:9–19 (Sbriglia).
357
   Id. at 46:11‒16 (Stashik) (“Q: If a borrower . . . paid ahead by a multiplier of
two months . . . [and did not pay the following month], would that borrower be
considered as making on-time payments …? A: That would not qualify.”); see
also Ex. 156 at NAV-01637891 ‒ 92.
358
      Ex. 1 at *99‒100, *103.
359
      Id. at *36.

                                            66
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 70 of 102




The CFPB responded that “the complaints located at tabs C-7 through C-11 of the

binder produced by the Bureau at the Rule 30(b)(6) deposition of the Bureau

contain examples of Navient . . . borrowers or cosigners whose complaints suggest

that they may have been wrongly denied cosigner release for failing to make an on-

time payment in each of 12 consecutive months.”360 The complaints identified by

the CFPB are described below, infra ¶¶ 263–67.

            263. One complaint identified by the CFPB involves a complaint by a

cosigner that “she was never told that the payments had to be made by the Primary

Borrower.”361

            264. One complaint identified by the CFPB involved a complaint that a

cosigner wanted a “lump-sum payment made by [the cosigner]” to “count to the

twenty four on time payments by the borrower.”362 The complaint does not

identify a statement made by Navient.363

            265. One complaint identified by the CFPB involves a borrower who took

a school deferment, which “broke up the 24 consecutive monthly payments.” 364




360
      Id. at *37.
361
      Ex. 157 at *12.
362
      Id. at *14.
363
      Id.
364
      Id. at *10.

                                            67
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 71 of 102




            266. One complaint identified by the CFPB states that the “borrower . . .

alleg[es] he was misinformed with regard to whether a lump sum payment will

count toward multiple payments toward Cosigner Release.” 365 The complaint does

not specify when, how, or by whom the borrower was “misinformed.” 366

            267. One complaint identified by the CFPB states that a borrower who had

“made twenty three (23) payments on his loans” was denied cosigner release.367

As Navient’s response to the complaint explained, the “application was denied on

May 16, 2012 because [Navient] had not yet received the full 24 payments”; the

“requirements for review were met with the [borrower’s] June 7, 2012 payment,”

and the cosigner “was removed as a cosigner on June 14, 2012.” 368

VII. NAVIENT PROCESSES TENS OF MILLIONS OF STUDENT LOAN PAYMENTS
     AND TRACKS AND CORRECTS ANY PROCESSING ERRORS
            A.     Navient Processes Tens Of Millions Of Payments Each Year

            268. In 2013, Navient processed 62 million payments.369




365
      Id. at *8.
366
      Id.
367
      Id. at *5.
368
      Id. at *6.
369
      Ex. 158 at SLMA2-003-0000001.

                                             68
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 72 of 102




         269. Payments on FFELP and Direct Loans in standard repayment must go

“first to late charges and collection costs that are due, then to interest that has not

been paid, and finally to the principal amount of the loan.”370

         270. FFELP and Direct loans must be serviced on separate systems per ED

requirements. 371

         271. Borrowers may “include instructions with their payment, if they

would like their payment . . . allocated a certain way.”372

         272. “[W]hen a borrower makes a payment on a . . . [Direct] loan by check,

it goes to the Bank of America lockbox.”373 Bank of America is responsible for

“the receipt, imaging, and depositing of those payments into Treasury.”374 If Bank

of America receives “any payment . . . with correspondence,” including “special

instructions,” it “overnight[s] [the correspondence] to Navient.”375




370
      Ex. 159 at NAV-02074498; Ex. 160 at NAV-03246005.
371
      Ex. 162 at 31:2‒8 (Zemetro).
372
   Ex. 163 at 88:12‒89:3 (Stine); see also Ex. 197, About Payments,
https://navient.com/in-repayment/about-payments (last accessed May 16, 2020);
Ex. 164 at NAV-04014369 (“You can instruct us to allocate payments
differently.”).
373
      Ex. 165 at 83:11‒13 (Harman); Ex. 161 at 86:11‒24 (Zemetro).
374
      Id. at 83:16‒17 (Harman).
375
      Id. at 86:9‒11, 87:2‒3 (Harman).

                                           69
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 73 of 102




         273. “[A]t one time,” ED “was reviewing th[e] functionality [for standing

instructions] and had worked with various servicers to . . . solicit input.” 376 ED

“issue[d] a change request” that would have required servicers to implement

standing instructions “that was later withdrawn.” 377

         274.
                        378
                                                                               .379

         B.     Navient Tracks Payment Processing Errors
         275. Navient’s compliance division conducts testing on a monthly basis to

ensure that Navient’s representatives are following company practices, including

payment processing practices. 380

         276. The results of this testing were reviewed by Navient’s Corporate

Compliance Committee at their quarterly meetings. 381




376
      Ex. 163 at 101:2‒102:7 (Stine).
377
      Id. at 102:6‒7 (Stine); see also Ex. 168 at NAV-00765665 ‒ 5667.
378
      Ex. 166 at CFPB-NAV-0256008; Ex. 167 at CFPB-NAV-0256014.
379
      Ex. 167 at CFPB-NAV-0256014.
380
      Ex. 169 at NAV02447981 ‒ 7983.
381
      Ex. 170 at NAV-00872042.

                                          70
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 74 of 102




         277. The CFPB engaged Shannon Millard to



                     382



         278. Millard’s analysis

                                 . 383

         C.     The CFPB’s Identified Borrowers Had Any Errors Corrected
                1.         KSC

         279. In early November of 2016, KSC sent “a handwritten note [and] a

check for a payoff amount.”384 The note “explain[ed] that [KSC] wanted [a

particular loan] paid off.”385

         280. The payment “was allocated to [two] loans,” such that the loan KSC

had wished to pay off “was not paid off.”386 KSC “did not follow up on this.”387

         281. On November 21, 2016, KSC sent “a letter to Navient about [her]

husband’s account,” with “a check to pay off a loan and then instructions about




382
      Ex. 3 at ¶ 16(b).
383
   Ex. 3 at ¶¶ 75‒77; Ex. 171 at ¶¶ 41‒43, 52‒53. For examples of Complaint
Tracking Reports, see Ex. 172 at NAV- 03664259; Ex. 173 at NAV-03727599.
384
      Ex. 174 at 52:21–53:1 (KSC).
385
      Id. at 53:2–6 (KSC).
386
      Id. at 53:13‒14 (KSC).
387
      Id. at 53:14‒15 (KSC).

                                         71
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 75 of 102




how to apply payments when there is an overpayment,” but Navient “just applied

[the payment] to other loans.” 388

            282. KSC testified that this letter was “sent . . . to the wrong address

originally,” and once sent to the correct address, the payment “[w]as . . . ultimately

allocated correctly.”389

            283. In the November 21, 2016 letter, KSC also “t[old] [Navient] how to

allocate any extra payment . . . [for] all future overpayments.” 390 KSC asked that

Navient “confirm that these payments will be processed as specified, or . . .

provide an explanation as to why [Navient was] unable to follow the[]

instructions.” 391

            284. Navient sent a letter in December 2016 explaining that “[w]e are

unable to retain” the instructions KSC had sent “for future use.” 392 The letter

stated, “if you want your extra payments applied in a specific manner, you will

need to include instructions with each payment.” 393



388
      Ex. 174 at 106:2‒6, 45:13 (KSC).
  Id. at 45:15‒16 (“[T]hat was because I sent it to the wrong address, maybe.”),
389

114:9‒10, 124:22‒25 (KSC); Ex. 175 at NAV-02968108; see also Ex. 174 at
108:1‒11 (KSC).
390
      Ex. 174 at 103:11‒24 (KSC).
391
      Id.
392
      Ex. 175 at NAV-02968108.
393
      Id.

                                               72
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 76 of 102




         285. KSC testified that any harm she suffered was “in terms of . . .

mak[ing] more phone calls” and “writ[ing] a letter every month with my

payment.”394

               2.     NT

         286. NT had three complaints about Navient’s payment processing,395 all

three of which arose on or after January 18, 2017.396

         287. First, NT found the “process to make the payment to the highest-

interest-rate loan” to be “burdensome to have to go through th[e] extra step” of

“having to call” Navient “just to have the money allocated to a certain loan.” 397

         288. NT acknowledged that “Navient always allocated [her] overpayments

according to [her] instructions.” 398 Her complaint related instead to “the extra

steps” required.399




394
      Ex. 174 at 125:18‒25 (KSC).
395
      Ex. 176 at 49:10‒14 (NT).
396
      Id. at 50:8‒12, 52:13‒17, 75:17‒25 (NT).
397
      Id. at 43:21‒44:2, 64:13‒18 (NT).
398
      Id. at 65:19‒22 (NT).
399
      Id. at 66:22–67:10 (NT).

                                           73
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 77 of 102




         289. Second, NT disliked that, “if [she] made [an] overpayment [on one

loan], the auto debit would be distributed to the other loans that had an amount due

but not to the loan [she] had already paid.”400

         290. When NT called Navient about this issue, “[t]hey made sure that that

money got allocated” as she requested. 401 The issue was also corrected going

forward. 402

         291. Third, when NT called Navient and asked that a loan be “split apart

from the rest” so that she could pay it separately, the representative did so, but NT

was bothered that she would “have to do this every single time [she] want[ed] to

split apart a loan.” 403 Navient never refused to “break out a particular loan.”404

                3.    SW
         292.
                             405



                                                    .406




400
      Id. at 44:20‒24, 41:8–43:5 (NT).
401
      Id. at 77:24 (NT).
402
      Id. at 79:17‒23 (NT).
403
      Id. at 46:2‒21 (NT).
404
      Id. at 72:8‒11 (NT).
405
      Ex. 177 at 145:8‒16, 147:6‒10 (SW).
406
      Id. at 146:6‒10 (SW).

                                          74
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 78 of 102




         293.
                        407


                              408



         294.
                              409



                4.     TC
         295.
                                                             410



         296. First,
                                    411


        412



         297. Second,
                                          413




407
      Id. at 147:15‒19 (SW).
408
      Id. at 104:20‒22 (SW).
409
      Id. at 87:3‒4, 147:15‒156:6 (SW).
410
      Ex. 178 at 91:2‒8 (TC).
411
      Id. at 91:9‒12 (TC).
412
      Id. at 91:16‒20 (TC).
413
      Id. at 91:21‒24 (TC).

                                                75
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 79 of 102




         298.



                                                                      414



         299. Third,



                                    416



         300.
                     417



                                                          .418

                5.         CH
         301. CH “attempt[ed] to enroll in automatic debit” as early as “May of

2016,” but Navient “did not” “begin automatically withdrawing payments” as CH

expected.419




414
      Id. at 91:25–92:1, 62:15–63:3, 63:21–64:4 (TC).
415
      Id. at 92:18–93:5 (TC).
416
      Id. at 92:23‒25 (TC).
417
      Id. at 127:19‒20 (TC).
418
      Id. at 127:23‒128:9 (TC).
419
      Ex. 179 at 35:11‒19; 40:18‒23 (CH).

                                          76
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 80 of 102




         302. “At least part of the problem” was caused by loans that had entered

repayment being “grouped together” with loans that were not yet in repayment. 420

         303. CH estimated that in total he spent “in the realm of maybe 8 to 14

hours” trying to resolve his automatic payment issue.421

         304. “[B]eginning in November 2016, Navient did, in fact, begin . . .

withdrawing [CH’s] payments automatically.”422

         305. “[I]n the interim,” between CH’s first attempt to enroll in automatic

payments and the first time a payment was withdrawn automatically, “no late fees

were assessed,” and CH suffered no financial consequences.423

VIII. NAVIENT ACCURATELY REPORTED THE “AL” CODE FOR LOANS
      ASSIGNED TO THE GOVERNMENT
         306. The Fair Isaac Corporation (“FICO”) and VantageScore are credit

modeling companies with their own proprietary models for calculating credit

scores.424



420
      Id. at 84:14‒19 (CH).
421
      Id. at 159:3‒12 (CH).
422
      Id. at 129:13‒16 (CH).
423
      Id. at 130:17‒131:15 (CH).
424
   Ex. 254 at 10 n.6, available at cdiaonline.org/wp-
content/uploads/2019/10/Credit-Bureaus-in-the-Digital-Age_paper.pdf
(“VantageScore scores are based on models produced by VantageScore Solutions,
LLC, which is a joint venture of the three national credit bureaus. FICO scores are
based on models produced by FICO.”).

                                          77
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 81 of 102




        307. FICO and VantageScore are not members of the Consumer Data

Industry Association’s (“CDIA”) “Metro 2 Format Task Force” (“Task Force”).425

        308. CDIA’s “Credit Reporting Resource Guide” (“CRRG”) states that

“[w]hile all applicable fields within the Metro 2 Format should be reported, these

guidelines provide specific values that apply to Student Loans.”426

        309. For each student loan account it services, Navient must report a

number of pieces of information each month, including the Payment History

Profile, which indicates “up to 24 months of consecutive payment activity” and

whether the borrower has “payments past due,” and the Account Status, which

identifies the status of the account.427

        310. A “Special Comment” Code is “[u]sed in conjunction with Account

Status (Field 17A) and Payment Rating (Field 17B) to further define the account

(e.g., closed accounts or adjustments pending).” 428 The guidelines for Student

Loan Reporters lists the following “Special Comment Codes” for loans that are




425
   See Ex. 180 at NAV-01144586 (“The Metro 2 Format Task Force is comprised
of representatives from Equifax, Experian, Innovis and TransUnion and is
supported by the CDIA.”).
426
      Id. at NAV-01144599.
427
   Id. at NAV-01144608 (listing these fields as “required”); see also NAV-
01144599 (providing “applicable fields within the Metro 2 Format . . . that apply to
Student Loans”).
428
      Id. at NAV-01144634.

                                           78
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 82 of 102




“transferred”: “O, AH, AL, AN, AT.”429 For example, “AH,” means that the

account has been “Purchased by Another Company.”430

        311. A loan that is discharged due to total and permanent disability

(“TPD”) is transferred and assigned to ED.431

        312. Navient reported the following information for non-defaulted, TPD-

discharged loans: a Payment Rating of “0;” a Date of First Delinquency of

“00000000;” and a Payment History Profile. 432

        313. A Payment Rating of “0” indicated that the account was current (as

opposed to Payment Rating “G,” which indicated that an account was in

collections). 433




429
      Id. at NAV-01144599.
430
      Id. at NAV-01144693.
431
      See Ex. 181 at NAV-01854024.
432
      See Ex. 182 at NAV-04895572


           ; infra ¶¶ 311‒13, see also Ex. 180 at NAV-01144807.
433
   Ex. 180 at NAV-01144632 (stating that “Payment Rating” is reported as 0 for
“current account”).

                                         79
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 83 of 102




        314. A Date of First Delinquency of “00000000” indicated that there was

no delinquency.434

        315. A Payment History Profile provided historical on-time payment

information.435

        316. In 2011, the CDIA changed the guidelines for reporting TPD-

discharged loans and



           436



        317. The CRRG describes the Special Comment Code ‘AL’ as “Student

loan assigned to government.” 437

        318. For “student loans that are guaranteed,” the CRRG states, “05

(Account transferred) with Special Comment Code AL (Account assigned to




434
   Id. at NAV-01144638 (providing that “Date of First Delinquency” should be
reported in “MMDDYYYY” format and noting that “[f]or Account Status Code[]
05” “the Date of First Delinquency should be zero filled” for accounts that are
“current”).
435
  Id. at NAV-01144633 (stating that Payment History Profile should report “0”
where “0 payments [are] past due”).
436
      Ex. 183 at NAV-00003385.
437
  Ex. 180 at NAV-01144694; see also id. at NAV-01144807 (noting that the
“Special Comment Code states ‘Student loan – assigned to government.’”).

                                        80
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 84 of 102




government) – Use this combination of codes when a claim was accepted and paid

by the guarantor.”438

IX.         EVEN THOUGH THE “AL” CODE DID NOT INDICATE DEFAULT, NAVIENT
            REMOVED THE CODE FROM BORROWERS’ ACCOUNTS

            319. In June 2012, Navient emailed Debbie Seneway, Navient’s contact at

the Task Force, regarding “a question [that] has been raised about the new

reporting guidelines for student loans that are guaranteed and claim accepted/paid

by the guarantor.”439 In a follow-up email, Navient asked, “If our delinquency

defaults are reported now with an 05/AL combination, if and when we receive

notification that an account was successfully rehabbed, how and what would we

remove or charge as the record of default with the new reporting rules on this

original trade . . . . Or would nothing need to be updated since the 05/AL doesn’t

necessarily reflect ‘default’ status like the 88 or AB did?”440

            320. On July 11, 2012, Seneway replied, “No action would be needed since

the combination of Status 05 and Special Comment AL does not specify

‘default.’”441




438
      See id. at NAV-01144802.
439
      Ex. 184 at NAV-00003409.
440
      Id. at NAV-00003408.
441
      Id.

                                           81
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 85 of 102




        321. In October 2012, Navient began reporting Account Status Code “05”

and Special Comment “AL” for loans with claims that had been accepted and paid

by the guarantor, including for borrowers whose claims to discharge their student

loans due to TPD had been accepted and paid.442

        322. On May 17, 2013, in response to Navient’s inquiry, FICO emailed

Navient stating that Special Comment Code “AL” “is still considered negative by

the FICO Score.” 443

        323. That day, Navient forwarded the email to Seneway stating, “[FICO] is

still considering [AL] to be negative . . . There is [a lot] of confusion out there and

it seems like [FICO’s] treatment of these special comment codes is not at all in line

with industry rehab process and what benefits it should give to the borrowers. Can

I get your thoughts?” 444

        324. After meeting with the Task Force, Seneway replied on June 4, 2013

stating, “The CDIA Metro 2 Format Task Force reviewed the guidelines for

reporting rehabilitated loans and confirmed that the guidelines are correct. We do




442
      See Ex. 253 at NAV-01144836.
443
      Ex. 186 at NAV-00003412.
444
      Id. at NAV-00003411.

                                          82
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 86 of 102




not believe that Account Status 05 (transferred) and Special Comment AL

(assigned to government) mean that the loan is in default.” 445

            325. In November 2013, Navient started to manually remove the “AL”

code from its reporting each month.446

            326. In an April 3, 2014 letter, FICO stated that the reporting of the “AL”

Code “is not inaccurate: [The borrower] did have a loan that was discharged

through an assignment to the federal government.” 447 The proprietary model

employed by FICO “treated [the discharge] as a negative indicator, just as it would

any other discharge of a debt or assignment of the debt.” 448

            327. In June 2014, Navient implemented a system-wide process to cease

reporting the “AL” code for all TPD-discharged loans.449




445
      Id.
446
   See Ex. 185 at NAV-02512338 (Email from Leanne Carson to Tracy Stine,
Evelyn Capodanno, and Robert Sommer, Nov. 14, 2013)
                                                    Ex. 187 at 112:24‒114:11
(Carson). An “AUD” is a “manual account correction through e-OSCAR.” Id. at
113:7‒8 (Carson).
447
      Ex. 188.
448
      Id.
449
      See Ex. 189 at NAV-01141454.

                                              83
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 87 of 102




         328. The AL code was removed from all TPD-discharged loans as of

December 2014, after Navient asked the credit reporting agencies
                                                                            450



         329. Michael Pierce, Senior Advisor to the CFPB Student Loan

Ombudsman, and other CFPB staff,

                  .451

         330. The CFPB engaged Dr. Michael A. Turner to



                                                                   452



X.       PIONEER INFORMED BORROWERS ABOUT THE BENEFIT OF
         REHABILITATION
         331. After 270 days without payments, federal loans enter default, which

has consequences that include the unpaid balance becomes due immediately;

collections fees may be added to the balance of the loan; borrowers may have their



450
      Ex. 190 at NAV 03158142


451
      See Ex. 191 at CFPB-NAV-0256460

Ex. 192 at CFPB-NAV-0010075



452
      Ex. 193 at ¶ 1.

                                         84
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 88 of 102




wages garnished and tax refunds and federal benefits payments withheld; they are

no longer eligible for benefits like deferment and forbearance; they cannot receive

additional federal student aid; and their credit suffers.453

         332. There are four options to exit default: 1) paying off the entire loan

balance, 2) reaching a settlement, 3) completing the federal loan rehabilitation

program (“rehabilitation”), 4) or consolidating the loans (“consolidation”).454

         333. According to ED, payment in full is “not a practical option for most

borrowers.”455




453
   See Ex. 194, Student Loan Delinquency and Default,
https://studentaid.ed.gov/sa/repay-loans/default (last accessed May 16, 2020); 20
U.S.C. § 1095a(a) (authorizing ED or a Guaranty Agency to pursue recovery of
defaulted loans through administrative wage garnishment).
454
   See Ex. 195, Getting Out of Default, https://studentaid.gov/manage-
loans/default/get-out (last accessed May 16, 2020) (explaining that repayment in
full, loan rehabilitation, and loan consolidation are three ways to get out of
default).
455
      See id.

                                           85
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 89 of 102




         A.     Federal Loan Rehabilitation Provides Unique Benefits

         334. When an ED loan is rehabilitated, ED waives all remaining collection

fees at the time of rehabilitation. 456 Guaranty agencies (“GAs”) typically waive

only a portion of fees. 457

         335. Under both rehabilitation and consolidation, the missed payments

leading up to the default remain on the borrower’s credit report for seven years. 458

         336. Only rehabilitation removes the record of default.459

         337. ED has set a “goal of increasing borrower participation in the loan

rehabilitation program.” 460 It has stated that “rehabilitation offers benefits for

students, the Department, and the Nation.”461




456
      See Ex. 196 at NAV-03641583


457
   Ex. 198 at NAV-00062586 (noting that, for loans owned by GAs, collection
costs are reduced to 16 % once the loan is out of default).
458
      See Ex. 195.
459
   See id. (explaining that “loan rehabilitation provides certain benefits that are not
available through loan consolidation” and indicating that only rehabilitation
provides removal of record of default).
460
    See Notice of Final Rulemaking, Student Assistance General Provisions,
Federal Perkins Loan Program, Federal Family Education Loan Program, and
William D. Ford Federal Direct Loan Program, 78 Fed. Reg. 65,768, 65,776 (Nov.
1, 2013) (referring to “the Department’s goal of increasing borrower participation
in the loan rehabilitation program”).
461
      Id. at 65,784.

                                           86
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 90 of 102




         338. The CFPB has stated, “If you are currently in default on a federal

student loan and you are interested in pursuing an option that offers the lowest

monthly payment or the greatest opportunity to protect your credit record, you may

wish to look into rehabilitation.” 462

         B.     Pioneer Trains Its Agents Regarding The Benefits Of
                Rehabilitation

         339. Defendant Pioneer Credit Recovery, Inc. (“Pioneer”) services federal

student loans in default on behalf of both ED and the GAs and helps borrowers

enroll in and complete rehabilitation.463

         340. ED contracts with Pioneer to “[l]ocate and contact borrowers” in

default in order to “resolve their debt,” including through rehabilitation. 464

         341. Pioneer issues training manuals for agents regarding rehabilitation of

ED and GA loans. 465 These manuals include “Rehab Talk Offs,” which are

“guidelines . . . to be followed when pitching a rehabilitation program to a

debtor.”466


462
   Ex. 199, CFPB, Rehabilitation, available at
https://www.consumerfinance.gov/paying-for-college/repay-student-
debt/#federal:yes:yes:no (emphasis omitted).
463
      See Ex. 200 at 22:20‒24:17, 57:15‒58:11, 61:19‒62:3 (Frazier).
464
      Ex. 201 at NAV-00093685, 3693, 3706.
465
      See, e.g., Ex. 202; Ex. 203; Ex. 204.
466
  Ex. 198 at NAV-00062586; Ex. 202 at NSI-016-0028590. See also Ex. 200 at
130:14‒132:16, 166:2‒16, 173:3‒21 (Frazier).

                                              87
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 91 of 102




        342. Until April 2014, Pioneer’s training manual for ED loans stated, “[a]ll

of the collection fees are removed once you complete the program,” and “[a]fter a

minimum of 9 qualifying payments have been made, the defaulted student loan is

eligible to be taken out of default and the record be removed from the borrower’s

credit report (all three national credit bureaus); and a positive trade displaying the

new balance is placed on the credit report.”467

        343. This manual also included a “Rehab Talk Off,” which read, “I have

great news for you! You have qualified for a rehabilitation program. What you

will need to do is make a minimum of 9 qualifying monthly payments. After all

payments are made, a new servicer will pay off the Department of Education for

you. You will then in turn owe the new servicer, which means you will no longer

be in Federal Default. All the collection fees will be removed at the time of sale.

Also, it will be completely deleted from your credit report as though it never

happened.”468

        344. As of April 21, 2014, Pioneer updated its training manual for ED

loans, including revising the “Rehab Talk Off” to state, “[a]fter you have made

your ninth payment and provided any necessary documentation, your loan(s) will




467
      Ex. 205 at NAV-00122089.
468
      Id. at NAV-00122105.

                                          88
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 92 of 102




be transferred to a new servicer that will take over collecting on your loan(s) . . . .

Once that happens, you will no longer be subject to having your taxes offset or

wages garnished and any remaining collection fees on your loan(s) will be

waived.”469

         345. On July 11, 2014, Pioneer again revised the ED training manual. 470

The “Rehab Talk-Off” was revised to state the following with respect to the credit

reporting benefit: “[T]he Department of Education will notify the credit bureaus to

remove the default status from the credit report for the rehabilitated loan(s).” 471

The collection-fees section of the Talk Off was not changed.472

         346. The manual for GA loans outlined the “Rehabilitation Program” and

stated that the “benefits” to borrowers include that “[o]nce the loan is removed

from default, the delinquent trade line with [Client Name] will be removed from

[the Credit Bureau Report] and a[n] open, current trade will be added.”473 The

manual also included a “Rehab Checklist” which stated that “[o]nce out of default,

the delinquent trade line with [client name] will be removed.” 474



469
      Ex. 204 at NAV-01916551.
470
      Ex. 203 at NAV-00062744.
471
      Id. at NAV-00062746.
472
      Id. (“[A]ny remaining collection fees on your loan(s) will be waived.”).
473
      Ex. 206 at NAV-03739932.
474
      Id. at NAV-03739933.

                                           89
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 93 of 102




        347. In August 2013, Pioneer published a “Rehabilitation Talk Off” for GA

loans. 475 The Talk Off stated that, “[o]nce [the borrower’s] loan is removed from

default, [his/her] delinquent trade line with [Client Name] will be removed from

[the borrower’s] current report as if it never existed and replaced with an open,

current trade.”476

        348. On July 11, 2014, Pioneer released a “Rehab Process Guide” for GA

loans. 477 The Rehab Talk Off included in the Guide stated the following with

respect to the credit reporting benefit: “Once your loan is removed from default,

[client name] will notify the consumer reporting agencies to delete the derogatory

trade line from your credit report regarding your loan(s). In addition, your prior

lender that reported the default of the loan(s) approved for rehabilitation will be

notified and will be requested to remove the record of default from your credit

history.”478

        C.     The CFPB’s Identified Calls With Borrowers About
               Rehabilitation All Predate January 2014
        349. The CFPB has identified 236 calls in which it claims that Pioneer

representatives made deceptive statements regarding credit reporting and collection



475
      Ex. 207 at NAV-00562076.
476
      Ex. 208 at NAV-00562078.
477
      Ex. 198 at NAV-00062584.
478
      Id. at NAV-00062586.

                                          90
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 94 of 102




fees.479 Each of those calls occurred between January 1, 2012 and March 31,

2013. 480

         350. The CFPB has identified two borrowers in support of its claims

against Pioneer.481

               1.     KMC

         351. In February 2010, KMC consolidated her federal student loans into a

Federal Direct Consolidated Loan. 482

         352. In 2013, KMC defaulted on her consolidated federal student loan. 483

         353. KMC testified that her “credit sucks,” which “limits [her] financial

options” and “always will.”484 She explained that her “car insurance went up” and

that bad credit “made it so that [she] wasn’t able to take out . . . personal loans . . .

to start [her] own business.” 485 She further testified that she needed to get out of




479
      Ex. 209 at *11‒14, *17‒22, *54‒63.
480
      Ex. 210 at 3

481
      Ex. 2 at *12, *22.
482
      Ex. 211 at *1; Ex. 212 at 59:7‒10, 62:24‒64:3, 75:3‒7 (KMC).
483
      Ex. 212 at 82:17‒84:9 (KMC).
484
      Id. at 91:19‒21 (KMC).
485
      Id. at 97:14‒20 (KMC).

                                           91
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 95 of 102




default in order to receive financial aid for her master’s degree, which she needed

for her job. 486

         354. KMC owed over $58,000 on her defaulted loans, and she had “already

consolidated” her defaulted student loan. 487 KMC acknowledged at her deposition

that, because it was “not realistic” for her to “pay [her loans] in full,” she lacked

any option other than “to go into . . . the rehabilitation program.” 488

         355. On May 3, 2013, a Pioneer representative connected to KMC via

phone. 489

         356. With respect to credit reporting, the representative stated, “[A]fter

your ninth payment, this is going to be waived off of your credit report showing

that this was never in collections.” 490

         357. With respect to collection fees, the representative made two

statements as follows:

         358. “PIONEER REP: [Y]ou’ve actually accrued in penalties and fees

$11,450.93. [KMC]: Oh, my God. PIONEER REP: When – when you’re back in




486
      Id. at 44:17‒22, 53:25‒54:19, 88:24‒89:14, 120:3‒14 (KMC).
487
      Id. at 117:18‒118:9, 139:23‒140:7 (KMC).
488
      Id. at 105:22‒106:15 (KMC).
489
      Ex. 247; Ex. 211 at *8‒9 (KMC).
490
      Ex. 247; Ex. 211 at *15:7‒10 (KMC).

                                           92
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 96 of 102




good standing after the ninth payment, that’s going to be waived off of your – your

balance. Okay? [KMC]: Okay. PIONEER REP: They’re going to actually

remove those, so you’re going to be paying only your principal and interest.”491

         359. “PIONEER REP: And what happened when you consolidate all your

loans together, your interest and your collection fees actually combine together, but

just think, after this program, though, you’re going to be saving yourself

$11,000.”492

         360. KMC enrolled in the rehabilitation program in May 2013 with a

monthly payment amount of $362. 493

         361. KMC completed the rehabilitation program in January 2014, and she

was no longer in default. 494

         362. KMC testified that getting out of default allowed her to receive

additional financial aid to get her master’s degree.495 KMC testified that if she did

not get her master’s degree she “would still be making $30,000.00 a year” and that

the degree has “allowed [her] to have a little bit more financial stability.”496



491
      Ex. 211 at *15:12‒22.
492
      Ex. 247; Ex. 211 at *36:4‒9 (KMC).
493
      Ex. 211 at *57.
494
      Ex. 212 at 223:14‒20 (KMC).
495
      Id. at 83:14‒19, 97:25‒98:17 (KMC).
496
      Id. at 54:4‒13 (KMC).

                                           93
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 97 of 102




               2.     JS

         363. JS testified that he took out approximately six or eight federal student

loans and that “[a]s far as [he] is aware,” he defaulted on all of them.497

         364. Prior to enrolling in rehabilitation with Pioneer, JS had completed

“the first rehabilitation through ECMC,” 498 and as a result, JS knew how the

rehabilitation program worked and was aware of its benefits.499

         365. By April 2013, JS had not taken any action with respect to his

defaulted loans, but the government had taken an offset from JS’s tax refund,

reducing the amount he owed on his loans to $14,979.65.500

         366. On May 2, 2013, a Pioneer representative connected to JS via

phone. 501

         367. The representative made the following statements related to credit

reporting and collection fees:

         368. Collection fees: REPRESENTATIVE: Okay. So right now if we got

you into a program it could actually save you $2,900 because we would –




497
      Ex. 213 at 57:2‒16, 59:4‒61:18 (JS).
498
      Id. at 61:7‒13, 68:17‒24 (JS).
499
      Ex. 252; Ex. 214 at *4 (lines 6‒16), *18 (lines 1‒5).
500
      Ex. 213 81:6‒82:8 (JS).
501
      Ex. 214 at *9; Ex. 213 at 93:2‒6 (JS).

                                             94
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 98 of 102




CUSTOMER: Yeah. I mean -- REPRESENTATIVE: -- do it and remove all of the

collection fees.502

         369. Collection fees and credit reporting: “REPRESENTATIVE: After all

the payments are made the new lender would pay off the Department of Education

for you, and then you would in turn, owe the new lender which means you would

no longer be in federal default. So the only person who would know that you were

ever in default was yourself, so this completely removed from the credit report.

All the collection fees would be removed at the time of sale, which at this time is

$2,949.03. So those fees would be completely removed and you would not pay

those fees. CUSTOMER: Okay. REPRESENTATIVE: “It would also be

completely deleted from the credit report as of then and you would be eligible for

additional financial aid once the loan has funded and is out of default and also once

the loan is funded and is out of default you would not have to worry about the

administrative wage garnishment.”503

         370. Collection fees and credit reporting: “I mean, you would save $2,800

by all the collection fees being removed and completely removed from your credit

report. This is a great program.”504



502
      Ex. 214 at *11 (lines 20‒25).
503
      Id. at *18 (line 12) through *19 (line 5).
504
      Id. at *24 (lines 1‒4).

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        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 99 of 102




         371. JS enrolled in the rehabilitation program in May 2013 with a monthly

payment amount of $34.505

         372. JS completed the rehabilitation program in January 2014, and he was

no longer in default.506

         373. At his deposition, when asked whether “there [were] any downsides to

completing the rehabilitation,” JS answered “[n]o.” 507 When asked whether “there

[were] any positives,” JS identified “fiscal responsibility” and agreed that “no

longer hav[ing] those loans in default” was another “positive.” 508

         374. When asked whether he “ha[d] any complaints with respect to

participating in the rehabilitation program with Pioneer,” JS answered “[n]o,” and

when asked whether he was “glad that [he] was able to get the loans that [he]

rehabilitated with Pioneer out of default,” JS answered, “[y]es.”509

XI.      NAVIENT SIGNED A TOLLING AGREEMENT

         375. The CFPB and Navient agreed “to a suspension of the running of any

applicable unexpired statute of limitations for any cause of action or related claim




505
      Id. at *41.
506
      Ex. 213 at 127:22‒128:24 (JS).
507
      Id. at 130:7‒130:10 (JS).
508
      Id. at 130:11‒130:19 (JS).
509
      Id. at 131:8‒131:15 (JS).

                                         96
        Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 100 of 102




or remedy that could be brought against Navient by the Bureau arising from its

investigation,” from January 20, 2015 until January 19, 2017.510

            376. Navient Corporation and Pioneer did not sign the tolling agreement

with the CFPB.511




510
  Ex. 215 (Tolling Agreement); Ex. 216 (First Extension); Ex. 217 (Second
Extension).
511
      Id.

                                            97
    Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 101 of 102




Dated: May 19, 2020           Respectfully submitted,

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     Case 3:17-cv-00101-RDM Document 471 Filed 05/19/20 Page 102 of 102




                         CERTIFICATE OF SERVICE

      I hereby certify that on May 19, 2020, I filed the foregoing document with

the Clerk of Court using the CM/ECF system, which will send notification of such

filing to all counsel of record who are deemed to have consented to electronic

service.

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